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     IN THE UNITED STATES DISTRICT COURT FOR THE MIDDLE DISTRICT OF                         PENNSYLV!1ftf}Lf2.
Lena Lashe,, Plaintiff                        Civil Action No. 1-i' CV 631111 (LTS)(llCM)                 ;qAAiseuA~ P.
                                                                                                         JA.N 1 6   , ~
V.                                                                   11- 1'5~l.o                                      2020
Board Chairperson Theresa M. Talbott, "individually and in his official capacity", et al DEFENDA

                     Plaintiffs notification to the Court of the Remaining Discovery Issues

                               to Comply with the Court December 16, 2019 Order

        Now comes the Plaintiff, Lena Lasher, through pro-se representation, hereby respectfully notifying the

Court of the Remaining Discovery Iss ues. The Production of documents are relevant in connection with Civil

Action No. 17 CV 6388 (LTS)(BCM) as demonstrated in Exhibit A - Reasons why the Production of documents

are relevant, Exhibit B - Letter to Attorney Deibert as to why she unconstitutionally objected to the Plaintiff's

request for discovery because the discovery would aid in the Plaintiff's defense and prove that the Pennsylvania

Board of Pharmacy DID discriminated against her which is made obvious by the way the Board dealt with

Pharmacist Steven Go1off.

        The Defendants sent the Court irrelevant "new documents" on October 1, 2019 (Goloff's testimony at

the Plaintiff's trial which can be shown to be perjured testi monies as per the previously suppressed exculpatory

video recordings evidence of the pharmacy), which is their attempt to confuse and deceive the court. The "new

documents" sent by Attorney Deibert will actually show the Court why this current lawsuit has merit and that the

Plaintiff's assertions is nothing but the truth and backed up with the LAW. The Plaintiff is now sending the

Court the Inspector Bat's testimony at the Plaintiffs trial, see Exhibit C, to clarify Goloffs testimony. Inspector

Bat's testimony alone is enough to prove the Defendants' continuing deception in revoking the Plaintiff's license

without her knowledge, as detailed in Exhibit A.

        Pursuant to Federal Rules of Civil Procedure 33 and 34, the Plaintiff hereby request the Defendants to

produce the documents described herein, in accordance with the provisions of Federal Rules of Civil Procedure

26 and 34 and the enclosed instructions.

                                 DOCUMENTS requested

1. Provide Proof that the Defendants informed the Plaintiff of the "Revoke Order" by way of the Certified Mail

Signature Return Receipt. Because the Defendants cannot provide the Plaintiff's Proof that the Def endants
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informed the Plaintiff of the "Revoke Order" by way of the Certified Mail Signature Return Receipt, the Plaintiff

is requesting that the Defendants provide her ALL Mailings, including but not limited to proof of certified mail

signature return receipt mailing, that they sent her since 2012.

2A. Provide Inspection Report of ALL Pennsylvania pharmacies in 2012 - the Questions on the checklist is what

the Plaintiff is interested in.

2B. How many times are inspectors asked to wait for the pharmacist in charge or owner to arrive for inspection?

2C. How often do Inspectors return at a later date when requested for an inspection?

2D. How often do Inspectors insist on meeti ng in restaurants, and not in the pharmacies?

2E. ALL disciplinary actions or complaints against Inspector Bat.

3. Provide ALL oflnspector Bat's handwritten and final interview notes of the Plaintiff and ALL individuals

involved in Riccio's pharmacies.

4. Please provide ALL communications between all the Defendants and Federal Prosecutors regarding any of the

"Riccio's pharmacies", the Plaintiff, the lndictment cited in the consent order, and any or all allegations about

the Plaintiff.

5. Please provide ALL communication between the Defendants and the DEA and/or its agents regarding the

Plaintiff, Riccio and Ricci o's pharmacies, any and all employees of those pharmacies, the indictments or the

allegations made in them.

6. Please provide ALL communications between the Defendants and Peter Riccio or his representatives,

including his son Carl Riccio, Sandra Arnao, Pamela Mandel, Laura Hisbmeh, Matthew Mandel.

7. Please provide all communications before or after Inspector Bat's inspections ofRiccio's pharmacies, between

any and all of the defendant's and any employees of Riccio's pharmacies, including those of employees who

were not currently employed at those pharmacies at the time of his inspections and those who were employed

there at the time of his inspections.

8. Provide ALL disciplinary actions or corrective action history of Peter J. Riccio, Daniel Geiger, Steven Go Ioff,

Albert Buck, David Allen, and James Barnes.

9. Please provide documentation of any all disciplinary actions against any and all of the employees of Riccio's

pharmacies, including but not limited to, pharmacists Steven Colo.ff, Daniel Geiger, for either when they were
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employed in those pharmacies, before, during, or after their employment with Riccio's pharmacies.

10. Please provide all disciplinary actions taken against Inspector Bat, and complaints made about his conduct

by other pharmacies or pharmacists, and any arrest records for Inspector Bat.

11. Please provide all documentation of any kind with regard to communications between Steven J. Goloff and

the Defendants or any representative of the Board of Pharmacy. Especially important are communications

regarding his pharmacist license.

12. Please provide all documentation of any kind with regard Steven J. Goloff that the Defendants or any

representative of the Board of Pharmacy have. Especially important are communications regarding his

pharmacist license, misconduct of any kind he may have been accused of or engaged in, any potential actions

against his license or any actual actions against his license or any deferment of any kind with regard to actions or

potential actions against his license, specifically with regard to his dispensing of Oxycodone, Fioricet, Butalbital,

Tramadol, Carisoprodol, Opium, Adderall, and any other drug. Also specifically with regard to any accusations

of drugs he may have stolen.

        This request for Production is continuing.

                                              INTERROGATOR1ES

        The Plaintiff is also requesting the Court to order the Defendants to answer the interrogatories (See

Exhibit A) which they have not yet done ..

        This request for Production and interrogatories is continuing. Especially with regard to Inspector Bat,

and with regard to Steven Goloff, the answers provided may compel other questions that must be asked of him.

                                                  CO CLUSION

        For the aforementioned, as explained in Exhibit A and demonstrated in Exhibit B and C, the Plaintiff is

Requesting the Court to order the Defendants to Provide the Plaintiff with the Requested Documents which are

clearly relevant in connection with the above-referenced matter.

Respectfully submitted,                           January 13, 2020




Lena Lasher, Pro-se, 16 Patton Street, High Bridge, NJ 08829
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IN THE UNITED STATES DISTRICT COURT FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

Lena Lasher, Plaintiff                     Civil Action No. 17 CV 6388 (LTS)(BCM)

V.


Board Chairperson Theresa M. Talbott, "individually and in his official capacity", et al DEFENDANTS


                                        CERTIFICATE of SERVICE


       The Plaintiff, Lena Lasher, hereby certifies that she has this 13th day of January 2020 caused a

copy of the foregoing "Plaintiff's notification to the Court of the Remaining Discovery Issues to Comply with

the Court December 16, 2019 Order" upon the persons and in the manner indicated below which service

satisfies the requirements of PA. R.A.P. 121:

       Service by first-class mail, postage prepaid, addressed as follows:

United States District Court                      Attorney General Josh Shapiro, DAG Alison Deibert
for the Middle District of Pennsylvania               Commonwealth of Pennsylvania
Clerk of the Court                                    15th Floor Strawberry Square
PO Box 983, 228 Walnut                               Harrisburg, PA 17120
Harrisburg, PA 17108

Respectfully submitted,                                Date: January 13, 2020




Lena Lasher, Pro-se Plaintiff, 16 Patton Street, High Bridge, New Jersey, 08829
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            EXHIBIT A- Reasons why the Production of documents are relevant in connection with

                                     Civil Action No. 17 CV 6388 (LTS)(BCM)

        Pursuant to Federal Rules of Civil Procedure 33 and 34, the Plaintiff hereby request the Defendants to

produce the documents described herein, in accordance with the provisions of Federal Rules of Civil Procedure

26 and 34 and the enclosed instructions.

                                                INTRODUCTION

        The PA Board ofPharmacy is admitting that they struck a deal with pharmacist Steven Go/off where         if

he threw me, the Plaintiff, under the bus, he gets to keep his licenses; the government obviously is allowing

Go/off a free pass for his own actions if he can shift blame to me. He keeps the license after setting me up as his

patsy to suffer the consequences..

        The government is admitting that Go/off committed acts that should cost him his license; instead of

acting on those, they struck a deal. The government don't want to tell us what their deal was or who all was

party to it, but the deal is self evidence: the government lied at my trial, attributing to me acts and statements

they observed and received from Go/off

        That the govt struck deal with Go/off already invalidates their actions against me. It is self evidence that

the Defendant inspector Bat lied on the stand against me; he testified against me but did not inspect me, he

inspected Go/off

        The govt struck deal with Go/off and they lied about me at the trial, misrepresenting their inspection of

Go/off by pretending I was present at the inspection. They conspired with Go/off against me so that he could

keep his license and I would be convicted. If anything, the govt should want to reveal their papers and their

dealings with Goloffbecause the full truth of their dealings can i look any worse than it already does.

        Defendant Inspector Bat lied on stand to convict me and protect Go/off because they struck deal with

him; yet inspection was of him, not of me.

                                 DOCUME TS requested

I. Provide Proof that the Defendants informed the Plaintiff of the "Revoke Order" by way of the Certified Mail

Signature Return Receipt. Because the Defendants cannot provide the Plaintiff's Proof that the Defendants

informed the Plaintifj'of the "Revoke Order" by way of the Certified Mail Signature Return Receipt, the Plaintiff
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is requesting that the Defendants provide her ALL Mailings, including but not limited to proof of certified mail

signature return receipt mailing, that they sent her since 2012.

2A. Provide Inspection Report of ALL Pennsylvania pharmacies in 2012 - the Questions on the checklist is what

the Plaintiff is interested in.

         The Plaintiff's request is relevant to her claim and defense in this matter because it would show that the

PA BOP discriminated against her because she asserts the inspection was not consistency and uniformity to

inspections of other PA pharmacies". The Plaintiff is also asserting that the Hellertown Pharmacy inspection

was not consistent with inspections of other PA pharmacies and deviated from accepted inspection procedures.

Further, you can not inspect someone who is not present and you can not assume anything said during an

inspection reflects on anything other that the speaker. The inspector and the PA Board extrapolated from their

inspection things about the Plaintiff that can not be discerned from the inspection. They turned an inspection of

Go/off into a set of biased presumptions of the plaintiff who was not inspected and was not present.

         The PA BOP 's inspection must be consistent to all PA pharmacies to prevent discrimination, bias, and

prejudicial. If the PA BOP did not discriminate against the Plaintiff, then the inspection report would show the

uniformity ofALL PA inspection reports; uniformity is to deter bias, prejudicism, and racism.

         The PA BOP 's revocation of the Plaintiff's pharmacist license had EVERYTHING to do with the

inspection of the pharmacy due to Defendant Inspector Bat's FALSE testimonies against her in regard to his

inspection of the pharmacies, which was backed up with no evidence because he NEVER inspected her; yet he

testified against her, to attain the wrongful conviction.

        Defendants "OBJECT to the request as it is overly broad and burdensome. There are approximately

17671 pharmacies that require inspection in Pennsy lvania. "However, the Defendants failed to state that only a

handful ofPA pharmacies were inspected yearly. The Defendants are trying to pull the wool over the court's

eyes, because the number ofpharmacies in PA has very little to do with the only relevant number here: the

handful ofpharmacies the board actually inspects.

        Defendants' argument that "producing inspection records for all of these pharmacies for even a one

year period is clearly overly burdensome to Defendants, " relies on the deception that they inspect a staggering

number ofpharmacies when they in fact do not. It is also laughable and worthy of mockery to say that they
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should be excused from doing the work because it is too much work. Did they think discriminating against the

Plaintiff and shifting blame from the person they inspected and to the Plaintiff should be easy? Did these Law

school graduates think they no longer had to do any work once they got the degree or passed the bar? Do they

need the taxpayers to hire day laborers who stand out in front of Home Depot in search of an honest days work

that the Defendants themselves are unwilling to do?

        The Defendants OBJECT to the request as it seeks confidential and privileged information pursuant to

PA statute



        1. The PA Board ofPharmacy is admitting that they struck a deal with pharmacist Steven Galo.ff where

if he threw me, the Plaintiff, under the bus, he gets to keep his licenses; the government obviously is allowing

Galo.ff a free pass for his own actions if he can shift blame to me. He keeps the license after setting me up as his

patsy to suffer the consequences.

        The government is admitting that Galo.ff committed acts that should cost him his license; instead of

acting on those, they struck a deal. The government don't want to tell us what their deal was or who all was

party to it, but the deal is self evidence: the government lied at my trial, attributing to me acts and statements

they observed and received from Goloff.

        That the govt struck deal with Golo.!J already invalidates their actions against me. It is self evidence that

the Defendant inspector Bat lied on the stand against me; he testified against me but did not inspect me, he

inspected Galo.ff

        The govt struck deal with Galo.ff and they lied about me at the trial, misrepresenting their inspection of

Golojf by pretending I was present at the inspection. They conspired with Golojf against me so that he could

keep his license and I would be convicted. If anything, the govt should want to reveal their papers and their

dealings with Go/off because the full truth of their dealings can 1 look any worse than it already does.

        Defendant Inspector Bat lied on stand to convict me and protect Golofj because they

struck deal with him; yet inspection was oj him, not of me.

        2. Jf the Defendants are trying to claim that providing this information is some kind ofHfPAA violation it

just goes to show that they have no understanding of the laws that are applicable here this should disqualify
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them from working on this matter altogether. HfPAA protects patients rights. The Pharmacies in Pennsylvania

are not sick and have not gone to see a doctor so I don i see how there this could be a HfPAA violation; it is a

violation of the Plaintijj's due process rights and thats why these materials are needed because the state of

Pennsylvania is choosing to apply one standard to the Plaintiff a standard that is not found in the law and is

another standard that they have applied to all the other pharmacists, including but not limited to Steven Goloff,

in Pennsylvania in that it was GOLOFF that the Inspector inspected.

          The Point is that by looking at all the other inspection reports it will become clear that the state does not

hold one person responsible for another failure.

          The requested information is wholly RELEVANT to the current matter.

          The Plaintiff is asserting that the voluntary surrender of the Plaintiff's NJ pharmacist license is

irrelevant in this case. This case is about the Defendants holding a hearing to revoke the Plaintiff's license in

her absence and without her knowledge.

2B. How many times are inspectors asked to wait for the pharmacist in charge or owner to arrive for inspection?

          This request is absolutely relevant to the Plaintiffs claim and defense in this matter. The Plaintiffs

revocation had EVERYTHING to do with the inspection of the pharmacy because ofinspectors Bat false

testimony, The PA BOP s revocation of the Plaintiffs pharmacist license had EVERYTHING to do with the

inspection of the pharmacy due to Defendant Inspector Bats FALSE testimonies against her in regard to his

inspection of the pharmacies, which was backed up with no evidence because he NEVER inspected her, yet he

testified against her, to attain the wrongful conviction. Therefore, the requested information is wholly

RELEVANT to the current matter.

          The Plaintiff requested that Inspector Bat waited for her to get to the pharmacy due to her hearing

Go/offfeeding Inspectors lies over the phone that the pharmacies did not have "such records", when they

clearly did. It was obvious that Go/off was hiding records from Inspector Bat, and Inspector Bat allowed such.

2C. How often do Inspectors return at a later date when requested for an inspection?

          Same answer as in 2A and 2B. Therefore, the requested information is wholly RELEVANT to the current

matter.

2D. How often do Inspectors insist on meeting in restaurants, and not in the pharmacies?
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          Same answer as in 2A and 2B. Therefore, the requested information is wholly RELEVANT to the current

matter.

2E. ALL disciplinary actions or complaints against Inspector Bat.

          Same answer as in 2A and 2B. Therefore, the requested information is wholly RELEVANT to the current

matter.

          Although Inspector Bat did not testify at Plaintiff's license revocation, but because the revocation was

due to his false testimony at the Plaintiff's trial. There was no reason for him to testify against the Plaintiff as he

NEVER inspected her. Tt was GOLOFF whom he inspected, yet he testified against her to attain the wrongful

conviction. Therefore, the requested information is wholly RELEVANT to the current matter.

3. Provide ALL of Inspector Bat's handwritten and final interview notes of the Plaintiff and ALL indi victuals

involved in Riccio's pharmacies.

          Although Inspector Bat did not testify at Plaintiff's license revocation, but because the revocation was

due to his false testimony at the Plaintiff's trial. There was no reason for him to testify against the Plaintiff as he

NEVER inspected her. It was GOLOFF whom he inspected, yet he testified against her to attain the wrongful

conviction. Therefore, the requested information is wholly RELEVANT to the current matter.

4. Please provide ALL communications between all the Defendants and Federal Prosecutors regarding any of the

"Riccio's pharmacies", the Plaintiff, the Indictment cited in the consent order, and any or all allegations about

the Plaintiff.

          Because Defendants based the revocation on the wrongful conviction attained by the Federal

Prosecutors, the requested information is wholly RELEVANT to the current matter.

          At trial, Go/off disclosed negotiations made between him and the PA BOP that in exchange for his

testimony against the Plaintiff, the PA BOP would not go after his license, thus a violation of the Plaintiff's due

process, equal protection clause, and the governing phannacy law. Therefore, this negotiation between Go/off

and PA BOP must be turned over to the Plaintiff; the requested information is wholly RELEVANT to the current

matter.

5. Please provide ALL communication between the Defendants and the DEA and/or its agents regarding the

Plaintiff, Riccio and Riccio's pharn,acies, any and all employees of those pharmacies, the indictments or the
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allegations made in them.

                 Although Inspector Bat, Go/off, Geiger, and the DEA did not testify at Plaintiff's license

revocation, but because the revocation was due to their false testimony at the Plaintiff's trial to attain the

wrongful conviction; the Defendants used this conviction to attain the revocation, therefore, the requested

information is wholly RELEVANT to the current matter.

6. Please provide ALL communications between the Defendants and Peter Riccio or his representatives,

including his son Carl Riccio, Sandra Arnao, Pamela Mandel, Laura Hishmeh, Matthew Mandel.

        Although Defendants and the aforementioned did not testify at Plaintiff's license revocation, but because

the revocation was due to their false testimony at the Plaintiff's trial to attain the wrongful conviction; the

Defendants used this conviction to attain the revocation, therefore, the requested information is wholly

RELEVANT to the current matter.

7. Please provide all communications before or after Inspector Bat's inspections ofRiccio's pharmacies, between

any and all of the defendant's and any employees of Riccio's pharmacies, including those of employees who

were not currently employed at those pharmacies at the time of his inspections and those who were employed

there at the time of his inspections.

        Although Defendant Bat and the aforementioned did not testify at Plaintiff's license revocation, but

because the revocation was due to their false testimony at the Plaintiff's trial to attain the wrongful conviction;

the Defendants used this conviction to attain the revocation, therefore, the requested information is wholly

RELEVANT to the current matter.

8. Provide ALL disciplinary actions or corrective action history of Peter J. Riccio, Daniel Geiger, Steven Go Ioff,

Albert Buck, David Allen, and James Barnes.

                 Although Defendants and the aforementioned did not testify at Plaintiff's license revocation, but

because the revocation was due to their false testimony at the Plaintiff's trial to attain the wrongful conviction;

the Defendants used this conviction to attain the revocation, therefore, the requested information is wholly

RELEVANT to the current matter.

        Further, the Defendants admitted to committing the misdeeds and violating pharmacy law and

regulations which the government accused the Plaintiff of; yet nothing happened to their licenses.
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        Same as 2a

9. Please provide documentation of any all disciplinary actions against any and all of the employees ofRiccio's

pharmacies, including but not limited to, pharmacists Steven Go/off, Daniel Geiger, for either when they were

employed in those pharmacies, before, during, or after their employment with Riccio's pharmacies.

Disciplinary actions undoubtedly have bearing in this case because the Plaintiff's license was revoked while

others who admitted to violating pharmacy rules and regulations weren 't, a violation of the plaintiff equal

protection right. Therefore, the requested information is wholly RELEVANT to the current matter.

Same as 2a corifidential

overly broad

10. Please provide all disciplinary actions taken against Inspector Bat, and complaints made about his conduct

by other pharmacies or pharmacists, and any arrest records for Inspector Bat.

        Although Defendant Bat did not testify at Plaintiff's license revocation, but because the revocation

was due to their false testimony at the Plaintiff's trial to attain the wrongful conviction; the Defendants used

this conviction to attain the revocation, therefore, the requested information is wholly RELEVANT to the

current matter.

Defendants claimed they are not the repository for arrest records; this contradict their claim because the

Defendants definitely have the Plaintiff's arrest records, as per evidence they submitted to the Plaintiff.

11 . Please provide all documentation of any kind with regard to communications between Steven J. Goloff and

the Defendants or any representative of the Board of Pharmacy. Especially important are communications

regarding his pharmacist license.

        Although Defendant Go/off did not testify at Plaintiff's license revocation, but because the revocation

was due to their false testimony at the Plaintiff's trial to attain the wrongful conviction; the Defendants used

this conviction to attain the revocation, therefore, the requested information is wholly RELEVANT to the

current matter.

        Further Defendant Go/off admitted to committing the "acts" the Government accused the Plaintiff

did, nothing was done to Defendant Go/off, thus violating the Plaintiff equal protection rights.

        2a corifidential
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12. Please provide all documentation of any kind with regard Steven J. Goloff that the Defendants or any

representative of the Board of Pharmacy have. Especially important are communications regarding his

pharmacist license, misconduct of any kind he may have been accused of or engaged in, any potential actions

against his license or any actual actions against his license or any deferment of any kind with regard to actions or

potential actions against his license, specifically with regard to his dispensing of Oxycodone, Fioricet, Butalbital,

Tramadol, Carisoprodol, Opium, Adderall, and any other drug. Also specifically with regard to any accusations

of drugs he may have stolen.

                Although Defendant Colo.ff did not testify at Plaintiff's license revocation, but because the revocation

was due to their false testimony at the Plaintiff's trial to attain the wrongful conviction; the Defendants used this

conviction to attain the revocation, therefore, the requested information is wholly RELEVANT to the current

matter.

                Further Defendant Colo.ff admitted to committing the "acts" the Government accused the Plaintiff did,

nothing was done to Defendant Colo.ff, thus violating the Plaintiff equal protection rights.

                At trial, Colo.ff disclosed negotiations made between him and the PA BOP that in exchange for his

testimony against the Plaintiff, the PA BOP would not go after his license for the "illegal" dispensing of

oxycodone, thus a violation of the Plaintifl's due process, equal protection clause, and the governing pharmacy

law. Therefore, this negotiation between Go/off and PA BOP must be turned over to the Plaintiff; the requested

information is wholly RELEVANT to the current matter.

lllllllllilllo-=m   2a confidential

                This request for Production is continuing.

                                                      INTERROGATORIES

l. In regard to Inspector Bat:

A. Explain why Inspector Bat's testimony contradicts the physical evidence, including the pharmacies' paper

trails and his own inspection reports?

B. Why did Inspector Bat refuse to meet with the Plaintiff and the Pharmacies' owner who were both on their

way to meet him, both at the first inspection and the second?

He took off the moment he found out the Plaintiff and the owner were on their way to meet him at both
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pharmacies.

When he was in Hellertown, he was informed the Plaintiff and the owner were coming to see him at Hellertown

where they could address any concerns he had and correct any misstatements made by Goloff. Rather than

waiting for the Plaintiff and the owner, he left to inspect Riccio's pharmacy in Palmer. When he found out the

Plaintiff and the owner were on the way to Palmer, he took off again even though we arrived as we said we

would within a few minutes. It was five minutes from our asking him to wait and our arrival. Tt was still early

afternoon. Why didn't he wait?

C. Why did Inspector Bat REFUSE to meet/interview the Plaintiff in the pharmacies but instead insisted on

meeting her at a restaurant?

D. Why did Inspector Bat lie at trial, stating be wouldn't talk to Riccio, stating that Riccio was not a licensee?

E. The Plaintiff informed Inspector Bat of the counting machine at the interview, why didn't Inspector Bat asked

to see the counting machine if he did not believe her?

F. Why did Inspector Bat not return to pharmacy to reinspect?

G. What direct knowledge of the pharmacies' sick policies did Inspector Bat have? What information about the

pharmacies' sick policy did he get through hearsay or word of mouth? Was Inspector Bat testimony at trial

referring to the pharmacies' sick policies in effect at the time of his inspection? Any and all explanations about

Inspector Bat's expertise on the pharmacies' sick policies and their evolution over time, and how he gained this

expertise or knowledge is being asked for here. Is it within the role of a Board of Pharmacy inspector to inspect

a store's sick policy? If so, is it within the role of a Board of Pham1acy inspector to inspect a store policy on sick

days from months before the date of his inspection instead of the one in effect as he is making his inspection?

2. What did the Federal Prosecutors claim to the Defendant's or their representatives about the Plaintiff?

3. Did the Federal Prosecutors communicate with the Defendant's concerning any other employee of Riccio's

Pharmacies? If so what was communicated?

4. What communications occurred between Steven Goloff and the Defendant's or their representatives?

        This request for Production and interrogatories is continuing. Especially with regard to Inspector Bat,

and with regard to Steven Goloff, the answers provided may compel other questions that must be asked of him.

                                                  CO CLUSION
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       Please provide the Plaintiff with the Requested Documents and Answer her AMENDED Request (in

italic) to her First Request for Production of Documents and First Set oflnterrogatories Directed to Defendants

Respectfully submitted,                         January 13, 2020



Lena Lasher, Pro-se, 16 Patton Street, High Bridge, NJ 08829
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                                                    EXHIBIT B

IN THE UNITED STATES DISTRICT COURT FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

Lena Lasher, Plaintiff                        Civil Action No. 17 CV 6388 (LTS)(BCM)

V.


Board Chairperson Theresa M. Talbott, "individually and in his official capacity", et al DEFENDANTS

Dear Attorney Deibert,

        I am in receipt of your response to my discovery request, which you still unconstitutionally objected to

because the discovery (See Exh A - Plaintiff's AMENDED Request (in italic) to her First Request for

Production of Documents and First Set of Interrogatories Directed to Defendants) would aid in my defense and

prove that the Pennsylvania Board of Pharmacy DID discriminated against me which is made obvious by

the way the Board dealt with Pharmacist Steven Goloff. You also denied my request by lying to the Court

that my request was not included in my original request when it was (See page 4 item 7 and 9 of your October 1,

2019 letter to Plaintiff). Before I make myself clear to the Court on why my request for discovery is pertinent for

this case, please allow me to respond to the irrelevant "new documents" you sent me and to the Court; the "new

documents" you sent is your best attempt to confuse the Court and at worst wholly deceptive. The "new

documents" will actually show to the Court why this current lawsuit has merit and that my assertions is nothing

but the truth and backed up with the LAW. You sent:

1. Defendant Exhibit B - a "Narcotics Conspiracy" Indictment of November 20, 2012. However, this indictment

was DROPPED and therefore irrelevant and there were no reason for you to bring up an indictment that was

DROPPED. But because you sent this indictment to prejudice me, and that is all, to prejudice me, please allow

me to explain why this indictment is flawed and defective overall.

        In November of 2012 I was arrested along with nine others as an alleged co-conspirator where I was

accused of violating the Controlled Substances Act for dispensing Tramadol and, allegedly, Butalbital. Eight of

the so-called co-conspirators pled guilty, but I refused to because I knew I was not guilty and that none of the

alleged co-conspirators were. My resistance forced the prosecutors and the judge to either admit they were

wrong or to misrepresent the law in order to justify the charges and the plead deals. They chose the latter. But, I

knew I was innocent for two simple reasons. The first reason I knew I was innocent was that Tramadol was not a
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controlled substance in 2012 and it only became one 21 months after the arrests, which was long after the court

accepted plea deals for an act that did not violate the law. When confronted with this fact in a motion to dismiss

the charges, Federal District Court Judge Naomi Reice Buchwald was obviously caught off-guard, because she

responded to the simple fact of the matter in two incoherent ways: 1) she claimed that a Motion to Dismiss the

charges was not the time to address the fact that the allegation did not break the law; and 2) she claimed the

charge in the indictment was not a charge but instead it was simply background information, in spite of the fact

that there was nothing about the wording around Tramadol that was any different than "Butalbital" which was

the only other drug named in the indictment. The second reason T knew I was not guilty was because I have

never dispensed Butalbital in my entire career and bad never worked in a pharmacy that stocked it and have

never ever seen a prescription for Butalbital. Toe drug simply never existed in the pharmacies, and it is

exceptionally unlikely to the point of a near impossibility as one can get that or the alleged co-conspirators

committed any act with that drug. Butalbital is an antiquated drug used to treat insomnia that is no longer

prescribed because there are safer drugs for that task. Today it is used in manufacturing other drugs and I doubt

any pharmacy, retail or hospital, in the country stocks it with the possible exception of compounding pharmacies.

If the BOP were competent they would not present that indictment as if it said anything bad about me because

they would know simply by reading the allegations that there is something very lacking in the allegations

themselves: Tramadol was not a controlled substance and no pharmacy has Butalbital.

        The Indictment is also flawed in that the dispensing of "highly addictive pain meds" is a term that does

not exist in law nor in the health care industries and used only to deceive the jury by creating standards that do

not exist under the law, which both the District and Appellate Court failed to mention ONE name of the "highly

addictive pain meds" that was dispensed, because there were NONE. In fact, the Plaintiff has filed motion(s)

requesting the District AND Circuit Courts for an EVIDENTIARY HEARING:

1). for an inventory and bill of laden of all butalbital tablets that allegedly existed in the three Riccio's

pharmacies, based on the filing of the Plaintiff's 2255 Motion.

2) name ONE "addictive pain med" that was dispensed by the Plaintiff; and to date, both the District AND

Circuit Courts failed to name one "addictive pain med". Instead, the District Court denied "each of the

supplementary motions" (Page 2 of 8/20/ l 8 Memorandum and Order'') by NOT answering them, because the
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Plaintiff NEVER dispensed One "butalbital tablet" nor an "addictive pain med"         OR a "pain med" via the

"internet" (This will be further discussed in Argument I item #2 in Exhibit C - Motion for a Certificate of

Appealability, which is still pending in the Second Circuit) If trial and appellate counsels had done their due

diligence, they would know that the aforementioned statement was flawed and is NOT found in the law.

         The Defendants falsely accused me of being in charged of BOTH pharmacies as well as an owner of the

pharmacies (See Attorney Deibert's October I, 2019 letter to the Plaintiff page 3 item 2A and page 4 item I 0)

Hellertown Phannacy and Palmer Pharmacy & Much More; the Pennsylvania Board of Pharmacy, if they were

competent, knew this more than anyone because Steven Goloff was on record as the pharmacist in charge of

Palmer Pharmacy & Much More, and Goloff's shifting of blame to the Plaintiff is also against the governing pa

pharmacy law (PA 27. l 2(b)(2). At no time, was the Plaintiff's the supervisor of Golotf - he does NOT listen to

the Plaintiff whereas the Plaintiff plead with pharmacist Goloffto FOLLOW the LAW- see Exh E - "Quality

Control Each tote of drugs that is filled, please initial the name of the tech/pharmacist who filled the tote and

your initial as pharmacist who checked the count. Also, date the tote with the date you checked the tote. You will

be held accountable for the COUNT", "Steven (Golofl) you NEED to supervise the techs' count!!! Too many

   . k es ....
illlsta   ' ")

        The governing law (PA 27.12(b)(2) and the criminal statute 21 U.S.C. Sec. 321 (g)(l), 352(a), 352(c),

353(b)(l), 353(b)(4)(A), 21 U.S.C. Sec. 33l(a) and 333 (a)(2) REQUIRE the accused to be present at the

pharmacy at the time the specific prescriptions in question were filled. Also, the governing pharmacy law

protects a pharmacist from being held liable for another's actions.   umerous pharmaceutical law and protocol

support the Plaintiffs testimony while impeaching the testimony of Prosecution witnesses and one of the main

contentions of the prosecution's case. The lack of ability to present that critical video evidence, while the

government asserted the knowledge of it's existence further undennined the truth and advanced the perjured

testimony. See Demarco v United States 928 F.2d l 07 4 (11th cir. 1991 ). The failure for the prosecution to correct

perjured testimony is ground for a fair hearing.

        The Prosecution and their witnesses also claim the Plaintiff was in     ew Jersey: remotely monitoring,

supervising, and directing employees in the PA stores to commit the crimes. The Prosecutors specifically stated

that the video evidence showed the Plaintiff remotely monitoring and remotely directing workers in
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Pennsylvania pharmacies to commit the alleged acts. But the Prosecution never presented that video evidence.

They instead suppressed it and the Judge withheld it. Unsurprisi ng ly, the video shows the Plaintiff busily

working in a New Jersey Pharmacy on all of the dates in question, not remotely monitoring or supervising

employees in the other stores, as the prosecution claimed . The prosecution and its witnesses claimed the

Plaintiff did not count pills, reused medications, improperly labeled and stored medications. However, the

admittance of vastly superior video evidence will show that the Plaintiff follows rules and regulations of

pharmacy law, properly handling pills and prescriptions, labeling and storing and destroying medications

properly, and dispensing medications with valid prescriptions which were verified by doctors, all

con tradicting the prosecutors' witnesses sworn testimony. The video recordings will further prove the drug

"butalbital" NEVER existed in the pharmacies.

        The 2012 Indictment was dismi ssed AFTER the Court took plea deals from other defendants. This 2012

Indictment was another chance to distract the Court. My conviction was a sham. It is easy to see in the law that

"Butalbital" is not Fioricet. The Government lied to the Court; their action was prej udicial in that they:

(1) cut a deal with pharmacist Goloff to testify against me,

(2) aid the Defendant Inspector Thomas Bat to lie.

(3) The representative of the state agency, Defendant Inspector Thomas Bat, showed up at my trial to give

credence to Goloff's testimony and he did that by lying.

        Every single statement of the 2012 Indictment (and the Superseding Indictment) can be refuted in

Exhibit C - Motion for a Certificate of Appealability.

2. Defendant Exhibit C - Southern District Court Reporters - it is Unsurprisingly how Attorney Deibert did NOT

put Dr. Konakanchi 's perjured testimonies into the exhibit, because the Plaintiff can ALSO refute each and

everyone of her false testimonies (See Exh C pages 16, 85-86, 94, 102-103, 121-122, 125), which is pending in

the NJ Middlesex Sup erior Court.

A. Burling's perjured testimonies can be backed up with physical evidence (See Exhibit C page 85 and Exhibit F

- phone records and 3500 material of Dr. Burling)

        Dr. Konakanchi and Dr. Burli ng perjure themselves by telling the jurors that they never spoke to the

Plaintiff or any pharmacists. However, Doctors' faxes of Dr. Konakanc hi stated that the doctors themselves
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phone consulted patients. Further, tech Katie Scott and Erik Cajilema told the agents that they/pharmacists spoke

to doctors, including Dr. Burling, to confirm that he phone consulted patients; this testimony along with phone

and fax records contradict Dr. Burling, the govermnent witness' false testimony.

        To reiterate, their testimonies contradict pharmacy business records; withholding this evidence is a

violation of the best evidence rule; Dr. Konakanchi's faxes(Exh G) informed the pharmacy that she phone

consulted each patient; whereby, this would have shown the jury that the Plaintiff was truthful. As in US v.

Walter, 2017 BL 303067, 7th Cir., 16-1325 Nos. 16-1209, 8/29/17, Government should have revealed that its

witness lied. Quoting Chief Judge Diane P. Wood, the witness's "testimony was important because of its detailed,

firsthand nature, and because it corroborated what the other witnesses were saying" about the defendants'

involvement in the conspiracy. Dr. Konakanchi and Dr. Burling's motivation was to secure lenient treatment in

exchange for implicating the Plaintiff.

B. Phannacist Steven Goloff's perjured testimonies can be backed up with physical evidence

        The District Court is known for protecting perjured testimonies from witnesses she called "honest"

(8/20/18 Memorandum and Order page 5), even though witness Steven Goloff admitted to stealing Narcotics

OXYCODONE not once or twice BUT a few times (Defendant Exhibit C pages 849 - 853, was caught for

soliciting PROSTITUTES, framed Dr. Haytmanek of untrue allegations as detailed below, and whose self-

confessed alleged crimes the Plaintiff was held responsible for in spite of the fact that no law holds one

pharmacist responsible for another's actions, and in fact the law specifically holds all pharmacists responsible for

their own actions.

         Goloff lied because he was written up for violating pharmacy law PRIOR to the PA BOP's inspection.

Goloff resented the Plaintiff for holding him accountable for being a bad pharmacist. Unfortunately, the District

Court withheld the unredacted evidence (See Exh E ). To emphasize, Goloff has a history of lying to officials

about other health care professionals, including but not limited to Dr. Haytrnanek. Inspector Bat, instead of

"inspecting" took an easy paycheck by relying on hearsay testimony.

I.      Newly di scovered evidence, Pennsylvania Board of Medicine Hearing transcripts, directly contradict

allegations about forged and misbranded prescriptions and more alleged dispensing to alleged addicts. This

evidence shows that the Prosecutors, their Witnesses, and even the Judge perjured themselves with regard to
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Opium Tincture prescriptions, thus this represents a denial of the Plaintiff's constitutional right to a fair trial.

        Pennsylvania Board of Medicine transcripts, docket# 0335-49-B file no. 12-49-11424, (See Exh H) is

new exculpatory evidence that should be admitted into evidence because it directly contradicts the Prosecution's

version of events in an incident that they spent most of their time at trial on: Opium Tincture prescriptions

prescribed by Dr. Cochran for his patient Dr. Haytmanek. When read side by side with the trial transcripts, they

show the prosecution and their witnesses and even the judge perjured themselves.

a. Much of the trial focused on opium tincture prescriptions for Dr. Haytmanek written by Dr. Cochran (See Exh

I). Dr. Haytmanek is a patient sufferi ng from chronic diarrhea and the opium tincture is an appropriate

medication indicated for that ailment. Prosecution's witnesses Steven Goloff actually filled 17 of the 20 of these

prescriptions. At some point, Steven Goloff decided to frame Dr. Haytmanek by reporting him to the

Pennsylvania Board of Medicine for being a "drug addict" who obtains his drugs illegally. At the Plaintiff's trial,

the prosecution and 5 of their witnesses, Pharmacy Inspector THOMAS BAT ( a Pennsylvania State Board

executive official), pharmacists Steven Goloff (Defendant Exhibit C - Page 832) and Daniel Geiger, technicians

Albert Buck and James Barnes, framed the Plaintiff by falsely accusing her of forging these prescriptions (Dr.

Cochran's) and illegally dispensing to Dr. Haytmanek whom they called "an addict". However, in the form of a

DIRECT testimony from Dr. Cochran in an interview by DEA Agent Murphy, which was withheld from the jury

(See Exh 1- Bates document 010085, T. 1939-1942) by the trial Judge, which should be considered best

evidence and far superior to testimony from their witnesses, stated that he wrote and signed those prescriptions

himself. (See Exh I). Hence, these perjuries were made more effective by the District Court's decision to

withhold the physical evidence that showed these lies for what they are (T.832) Further, the Trial Judge,

presuming the role of a handwriting analysis expert witness from the bench, flatly accused the Plaintiff of

forging Dr. Cochran's prescriptions.

        Even worse, AUSA Richenthal and Greenberg in their summation reiterated this false accusation of

forgery telling the jury the Plaintiff forged Dr. Cochran's prescriptions. During AUSA Greenberg's summation

(T. 1815), she falsely told the jurors the Plaintiff forged Doctor Cochran's signatures on prescriptions:

        Greenberg: ... Just take a look at them lined up. They all look the same. They have all got the same
        handwriting, the same pen, same signature. These prescriptions are clearly forged ... You have seen that
        handwriting before. That's Ms. Lasher's handwriting ... You have seen this handwriting before. This is
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        Ms. Lasher's handwriting.

More damagingly, the story they made up about these prescriptions were <lisproved at a hearing before the

Pennsylvania Board of Medicine on October 8tl1, 2013, 19 months prior to the Plaintiffs trial (See Exh H - docket

# 0335-49-B file no. 12-49-11424 Pg. 28), that there was nothing wrong with with any aspect regarding Dr.

Haytmanek's prescriptions, but the Prosecution and its witnesses insisted on putting on a show slandering her

and the doctor. This newly <liscovered evidence from the Board of Medicine's hearing not only contradict the

Prosecution's version of these events, built entirely on testimony and conjecture, but they support a piece of

physical evidence that was withheld from the Jury.

   Dr. Haytmanek was exonerated of any wrong doing and shown to not be a "drug addict" by the Pennsylvania

Board of Medicine. If the Government's version events were true, the following would have had to happen:

        A. Dr. Cochran's prescriptions pads would have to have been stolen,
        B. The prescription pads would have to have ended up in the Plaintiff's possession,
        C. Dr. Cochran would have to have failed to report these stolen controlled substances prescription pads,
        D. Dr. Cochran would have to have been arrested for not reporting the stolen pads,
        E. Goloff would have to have been arrested for dispensing 17 of these allegedly forged prescriptions,
        F. Prosecutors would have real crimes to charge the Plaintiff instead of the nonsense that went on at her
        trial.

That none of this happened would seem to indicate that everyone on the Prosecution team knew it was all lies

meant to slander the Plaintiff and deceive the jury

        The failure for prosecution to correct perjured testimony is grounds for a fair hearing. Demarco v.

U.S.928 F. 2d. 1072 (11th cir. 1991 )Due process bars a prosecutor from making, knowingly use of false

statements. Also, see Giglio v. US 405 U.S. 150, (1972); Napue, 360 U.S. at 271, U.S. v. Lowery, 135 F.3d. 957

(5th cir 1998), U.S. V. Booth, 994 F 2d. 63 (2cd cir 1993).

        Most notably, the Plaintiff was never indicted for any of the above mentioned acts, and they are serious

criminal allegations, allegations the prosecutors and the judge knew were untrue. If the Plaintiff violated the

law, the Government would have used against her the video recordings, most of which are still suppressed, from

the pharmacy where Dr. Haytmanek got his prescriptions-- prescriptions we now can prove via two ways were

completely legitimate: the withheld Bates Document, and the newly discovered transcripts where these

prescriptions were at issue. If the government were not still suppressing 9 of the 10 video recordings, which the

Plaintiff contends are still suppressed because the government knows that she did not break any law, we would
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have 3 ways that disprove the allegations which dominated the trial in terms of total testimony and number of

witnesses testifying and actually perjuring themselves. This exculpatory evidence would have exonerated her

and is a clear violation of Brady as well as a violation of Plaintiff's 5th Amendment Right (Due Process). As

shown in Exhibit C - POINT C: Flaw in the jury Instruction Misbranding of Opium and Oxycodone,

ambiguous charges to deny the Plaintiff her constitutional right pgs 64-75 below, the "misbranding" the Plaintiff

stands wrongly convicted of may have included these false allegations about Opium Tincture prescriptions, due

to ambiguity in the indictment and in the Judge's instructions to the Jury, thus another unconstitutional denial

of the Plaintiff's right.

        SHOCKINGLY, the video evidence shows that AUSA Greenberg knowingly misled the jury by

referring to testimony she new to be false, that on October 2, 2012, Albert Buck "on two occasions, went to Ms.

Lasher and stating something is wrong here; this is unusual. The second time, Buck said they (the oxycodone

patients) appear to be high. "stating... Ms. Lasher said, "just fill...we are just filling the prescription. It's fine".

James Barnes, Steven Goloff, all said the same thing .. ."She didn't care." (T.1807-1808).

        These are all false statements made to deceive the jury and prejudice them against the Plaintiff. Since

the Plaintiff was not on duty at Hellertown Pharmacy on October 2, 2012, but working in another pharmacy in

another state, if the Jury were shown this video evidence, they would know they had been lied to by 2 witnesses

and the Prosecutors, and they would show that the testimony from Agent Murphy about October 2 nd was

irrelevant and only presented to trick them into being prejudiced against the Plaintiff. It was Goloff who

dispensed all those prescriptions on October 2, 2012. That District's Judge allowed this testimony is grounds for

reversal of the Plaintiff's conviction and sentence.

        UNSHOCKINGLY, Goloff's dispensing hundreds of Oxycodone prescriptions was "one of the things

that he did for which he received nonprosecution treatment from the GOVERNMENT (Defendant Exhibit C

page 899); this SHOCKS the conscience.

                    INTRODUCTION - EXPOSING PERJURIES IS SEEKING JUSTICE

        Although Defendant Bat and pharmacist Go/off did not testified at my hearing, they falsely testified at

my trial and thus caused my conviction. The board based my wrongful conviction to revoke my license.

Therefore, their testimonies at my trial /tad everything to do with this hearing. The Board ltas NO statutory
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authority nor duty to revoke a license based upon perjured testimonies by their "own" representative.

        To reiterate, the conviction is flawed because the Defendants had not only a hand in creating it

but that they lied via their representative who testified against me at the trial even though he had no

dealings with me and instead had inspected pharmacist Goloff, and they had a hand in creating the

conviction by making a deal with Goloff ifhe helped convict me.

        This lawsuit is not to figure out why the Government made a deal with a pharmacist, Steven Goloff, who

they admit committed all of these mistakes (See Exh D - this evidence is pertinent to prove that a deal was made

between the PA Board of Pharmacy and Goloff). This lawsuit is to point out that they are treating the Plaintiff in

a prejudicial matter because by their own admission this licensed pharmacist Goloff who has performed all these

misdeeds is KEEPING his license while they took mine; they took mine because Goloff struck a deal with them

in order to convict me. Not only did the Defendants make a deal with Goloff to keep his license but they sent

their own inspector Bat to lie at my trial to make sure I was convicted and now they pretend that the conviction

is all that matters with regard to my license and not their own very heavily placed hand on the supposed scale of

justice that manufactured that conviction out of their own lies. Lawyer take an oath to protect the system and the

integrity of the law; every time they lie, every time they use such obviously bad reasoning, they make a mockery

of that oath and put into question the legitimacy of this system. Anyone who take such arguments and obvious

lies seriously does a disservice to our country and our legal system.

        It's interesting that the Defendants point out that Steven Goloff and Defendant Inspector Bat were not at

the hearing but they have already stated that they made up their mind about revoking my license before the

hearing (See Page 2 of Attorney Deibert's October 1, 2019 letter to Plaintiff "the mere fact that you were

convicted is sufficient grounds to revoke." The Defendants have already admitted their prejudicial behavior by

pointing out that they were going to revoke my license regardless of whether or not I was at the hearing. The

Defendants have also shown that they readily lie to the Court whenever they think it will serve their purpose.

They have lied about the mailings they've sent and 1 am providing proof that they lied about their mailings (See

exh J - Defendants' previous mailing were to the Plaintiff as well as to her counsel PRIOR to the "hearing". For

them NOT to mail anything to the Plaintiff in regard to their revoking the Plaintiff's license in her absence and
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without her knowledge is clearly a denial of due process and an attempt to prevent her from requesting for a

(FAfR) hearing" .

        None of the Defendants' arguments should be viewed as anything other than disingenuous. The

Defendants are also attempting to pull the wool over the court's eyes by referring to a deal made between Goloff

and the federal prosecutors which is a distraction away from their own investigation into his misdeeds; misdeeds

that:

1. Goloff admitted on the stand at my trial,

2. Their own investigation which if that is true that Goloff did nothing wrong, then they should not be hiding the

investigation from this discovery process (See Exh D) .

        The Defendants are also being disingenuous when they claim that my conviction is why they revoke my

license while pretending away their own hand in that conviction which was contributed to by their own

representative lying on the stand to protect Goloff from the result of his inspection where their own

representative shifted responsibility for that inspection onto me at my trial. All of this are obvious examples of

prejudicial behavior on the part of the Defendants against me and is unreasonable irrational favoritism showed

towards Goloff. Had there been a hearing and had that hearing been fair the Board would have had to have dealt

with their own protection of Goloff and his misdeeds, and their own misdeeds with regard to shifting

responsibility for Goloff's inspection onto me but the Defendants already admit I was not getting a fair hearing.

The hearing was essentially a show trial a ritual meant to create the false appearance of due process in spite of

that fact that they have already decided to take my license and they admitted to it. The Defendants lied to the

Court; they admitted they were prejudiced against me. They admitted they conducted a hearing without me or

my lawyer and they lied about the mailings to deceive the Court and for them not to appear as if they conduct

themselves in a righteous manner.

                                                  ARGUME T

        The Plaintiff is NOT here to prove her innocence before the Board, but to have a FAIR hearing as to why

her license should be "ACTIVE". Tn fact, the Defendants revoked the Plaintiff's license by conducting a hearing

in her absence and without her knowledge.

        The Defendants' shifting this civil action against them by changing the topic to the Plaintiff's conviction
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is an attempt to distract the court from their own wrong doing. But because they brought up the Plaintiff's

conviction, the Plaintiff has every right to defend herself. In fact, the crimes alleged at trial were not supported

by any physical evidence, only testin1ony. Crimes admitted to at trial by the Prosecution's witnesses, were

blamed on the Plaintiff for no other reason than to shift blame. Video evidence was claimed by the prosecution to

show a wide range of illegal behavior, including the remote micromanaging of other licensed professionals

working in other pharmacies supposedly to ensure they were acting illegally. The Prosecution suppressed that

video, tampered with it, and only after extensive struggling, released one of the ten sets of recordings to the

Plaintiff (See Exh K). The video shows none of what they claim it shows.

        To reiterate, physical exculpatory video recording evidence and the pharmacy paper trail, which were

suppressed and withheld from the jury showed that

(1). It was the prosecutions witnesses who perjured at the Plaintiff's trial

(2). The Plaintiff did everything according to the law, including:

        (a). Counting, labeling, storing, and destroying medications properly,

        (b ). Dispensing medications with valid prescriptions, which were verified by doctors

        (c). TRlPLE checking all of her work. Again, as the video recordings showed, all pills were hand

counted and the Plaintiff was Consistent and DILIGENT in her work.

        ln order to evade responsibility for their prejudicial actions against me, the defendants do not

cite any law that prevents me from bringing them in front of a jury, because there is none that would

deny me my right to take them to court. Instead they found a case from long ago, Heck v Humphry, 512

U.S. 477 (1994) where a defendant was able to avoid responsibility and cite it as if it were a relevant

precedent but it is not. In this case the defendants actively protected the license and made a deal with

someone who admits their own crimes and admits to have dealt with the defendants, and the defendants

sent their own representative to lie at my trial about his inspection making me responsible for the

misdeeds of the person they had already cut a deal with. Their precedent is irrelevant to this case

because no defendant would stoop so low and then admit their own prejudice as freely as these

defendants have on multiple occasions in these pretrial motions. They admit the hearing was going to
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be a sham anyway because they had made up their minds before it; they lie about their mailings to

conceal from the court that they had no interest in respecting my right to due process.

        Also, for the governm ent to p retend they would not make a deal with someone they acknowledged

committing misdeeds pretends away the fact that every time they revoke a license they are in essence making a

deal. This case is about the very prejudicial actions of the government against me and as ever and as evidence of

that prejudicial behavior l show how they showed favoritism to someone they admittedly caught a criminal he

has his license I don't. The D efendants' very direct representative lied on the stand to help take away my license

so the Government's prejudice is self-evident. All they do is lie and use bad reasoning; this response provides a

number of clear examples. The question is how can anything the government say in this case be regarded as

anything other than disingenuous?

                                                   CONCLUSION

        The Plaintiff wanted a hearing so that she could show that the conviction was gained through smoke and

mirrors and a misrepresenting of the law to the jury; A Board of licensed professional fami liar with the law

would recognize that if they wanted to. A competent attorney would present the Plaintiff's side. A board who

struck a deal with a witness so that he could keep his license if he helped convict the Plaintiff should have to

either explain their bias against the Plaintiff and their favoritism for him or treat the Plaintiff fairly. A competent

attorney would show up and challenge them on this. It does not take a stellar attorney to realize something is

wrong when the Plaintiff's attorney did not show up at the hearing .. It just takes a decent human being to own up

to that fact, but it takes something far less to pretend that what the Board did was on the up-and-up as the

Defendants are doing. An attorney who takes a client's money but doesn 't even show up to do his job

clearly is a sign for the Defendants to HALT the hearing if they were intending on holding an actual

hearing but they have already admitted that they were not holding an actual hearing but instead

conducting a maccobe ritual to take my license regardless of what I or what my attorney was supposed to

say.

        The purpose of this lawsuit is to hold the Defendants accountable for their prejudicial behaviors against

me and their denial of my due process in their numerous pretrial motions meant to help them evade

responsibility for their own misdeeds. The Defendants have shown themselves to be disingenuous to willfully lie
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to the Court about something as mundane as mailings and they admitted that the hearing was just a sham and

that their decision was already made. The Defendants also admit that they had an investigation into Goloff's

misdeeds which he admitted on the stand at my trial but they refused to open that investigation up to scrutiny

and they also have not dealt with the simple fact that their inspector inspected Goloff and had no dealings with

me in the pharmacy and yet testified as if he inspected me. Therefore, the Plaintiff is requesting for the full

disclosure of the investigation

        Inspector Bat lied at my trial to help gain a conviction; can there be anything more prejudicial?

        The Defendants fear that a jury will see this governmental agency in their abuses of power and their

inability to even realize when their own words expose their own misdeeds. The very fact that they revoke my

pharmacist license by holding a hearing in my absence and without my knowledge is clearly prejudicial

and a denial of my due process.

        The Plaintiff, Lena Lasher, hereby certifies that she has this 16th day October 2019 caused a

copy of the foregoing "Dear Attorney Deibert's letter of October 16, 2019" upon the persons and in the

manner indicated below which service satisfies the requirements of PA. R.A.P. 121:


        Service by first-class mail, postage prepaid, addressed as follows:

United States District Court                         Attorney General Josh Shapiro, DAG Alison Deibert
for the Middle District of Pennsylvania                  Commonwealth of Pennsylvania
Clerk of the Court                                       15th Floor Strawberry Square
PO Box 983, 228 Walnut                                  Harrisburg, PA 17120
Harrisburg, PA 17108

Respectfully submitted,                                   Date: October 16, 2019




Lena Lasher, Pro-se Plaintiff, 16 Patton Street, High Bridge, New Jersey, 08829
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                                   Exh
                                                                           914
     F58sLAS4                        Pizzuti - direct


 1              MR . RIC HENTHAL:     Your Honor , would you like u s to call

 2   ou r next witness?        The government calls Thomas Bat .

 3               THE COURT :    Go ahead .

 4    THOMAS BAT ,

 5         called as a witness by the Government ,

 6         h av i ng b ee n d uly sworn , testified as follows :

 7   DIRECT EXAMINATION

 8   BY MR. RI CHENTHAL :

 9   Q.   Good afternoon .

10   A.   Good afte r noon .

11   Q.   Where are you from?

12   A.   Wil kes-Barre , Penn sy l vania .

13   Q.   What is your educational background?

14   A.   I have a BA degree in criminal justice from Kings College .

15   Q.   Where did you work after getting your degree?

16   A.   Firs t , I worked as a correctional officer at CSI Dallas in

17   Pennsylvania , and then I transferred to another job , another

18   state job .

19   Q.   What was the state job in which you tra n sferred to?

20   A.   An investigator for the Department of St ate .

21   Q.   Wh at , in s h ort , is the Department of State?

22   A.   The Department of State is a conduct - level agency in

23   Penn sy l vania .   And what we do is li cense p r ofessiona l s ,

24   27 professional licensing boards .

25   Q.   For how lo ng did you work for the Department of State?


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                                                                                915
     F5 8sLAS4                          Bat - direc t


 1   A.   27 years.

 2   Q.   Di d you have a title or titl es wh ile you were there ?

 3   A.   Professional conduct investigato r .

 4   Q.   Did you have a t i tle for a period of ti me prior to t h at ?

 5   A.   Yes .    When I first joined , I was an inspe c t or ca lled a

 6   regula tory inspector , which was for abou~ a year .

 7   Q.   What kinds of businesses d id yo u either investiga t e or

 8   inspect?

 9   A.   We had 27 licensing boards which incl u de doctors , dentists ,

10   vete rin arians , p h armacies , enginee r s , arch it ects , nurses , qui te

11   a range of professions .

12   Q.   Did you r ece ive any kind of training i n connectio n with

13   either s e rving as an i n spector or invest igator?

14   A.   Most of t h e t raini ng was on the job .       We did have some

15   s pecia li zed t raining to c lear in confidence .

16   Q.   Are you still an i nvestigator?

17   A.   No , si r .   I retired in May 2014 .

18   Q.   Du ring the course of your career , approximately how many

19   pharma c i es did you eith e r inspect or invest igate?

20   A.   I t ' s hard t o gauge because it wasn't on a regular basis .

21   You might d o two pharmac i es one mo n th , and then maybe not do

22   any pharmac i es for six months in a row .

23                MR . RI CHENTHAL :     Can I ha ve just o n e moment , your

24   Honor?

25                THE COURT :   Yes .


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     F58sLAS4                             Bat - direct


 1               MR . RICHENTHAL :        Ma y I proceed , your Honor?

 2               THE COURT:       Yes .

 3   BY MR. RICHENT HAL :

 4   Q.   Directing your attention t o 20 1 2 , did t here come a time

 5   when a comp l aint was f iled wi th respect to Hellertown Pharmacy

 6   and Palmer Pha rmacy & Much More?

 7   A.   That is correc t .

 8   Q.   Approximately when was i t           filed?

 9   A.   February o f 2012 .

10   Q.   By whom was it filed?

11   A.   A former employee named Dan Geige r .

12   Q.   Without gett ing into details , what wa s the nature of the

13   allega t ions i n the complaint?           What was the s u bject matter?

14   A.   He made several complaints , some being just faci lity

15   re quirements of the pharmacy , and some were very seri o u s

16   charges against what the pharmacist --

17               MR . FREEMAN :     Obje c t ion .   Objectio n to " serious ."

18   BY MR. RICHENT HAL :

19   Q.   No need to c h aracter i ze serious or no t , wh at were t h e

20   subjec t matters?        What t ypes of th ings?

21   A.   On e of t he complai n ts was t hey were restocking medication .

22   Q.   Was an investigation commenced?

23   A.   Yes.

24   Q.   Were you assigned to lead that investiga ti on ?

25   A.   Yes , I wa s .


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 1   Q.   What we r e some of t h e i niti a l s t eps ta ke n i n the

 2   inv e st ig ati on ?

 3   A.   The first t hing we do is to c h eck prio r licensure , see wha t

 4   the li censees were like , t h e pharmacy and t h e pharmacist , do a

 5   lit t le background chec k.        The seco n d stage wou ld be to go tal k

 6   to t h e comp l ain a n t .

 7   Q.   Did you do th a t ?

 8   A.   Yes , I din .

 9   Q.    Did y ou als o s peak with others ?

10   A.   Yes .     The comp l ai nan t supp lied wi tnesses ' n ames .

11   Q.   Di d t here come a ti me when yo u visited one or bo t h

12   p h arma c i es?

13   A.   Ye s .

14   Q.   Approx imat e l y when was t hat?

15   A.   Septemb e r 1 8 .

16   Q.   Of what year?

17   A.    2012 .

18   Q.   We re these s u rprise i n spectio n s or informe d in adva n ce?

19   A.    Su rprise investigat i o n s .

20   Q.   Who , if an yone , accompanied yo u t o the in spection ?

21   A.    I brought wi t h me a pharmacy i nspecto r , Mi chael

22   Fitzpat ri c k .

23   Q.   Whi ch o f th e t wo pharmacies d id you vi si t first?

24   A.    Fi rs t wa s Hellertown .

25   Q.   Approx imately wha t t ime of day d i d yo u v i sit?


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 1   A.   It would be late morn in g .

 2   Q.   Was a pharmacist presen t?

 3   A.   Yes.

 4   Q.   Who?

 5   A.   Stephen Goloff .

 6   Q.   Did you speak with him?

 7   A.   Yes .

 8   Q.   Did he answer your questions?

 9   A.   Yes .

10   Q.   What was hi s demeanor?

11   A.   Very cooperative .

12   Q.   Do you r eca ll approxima tely how large t h e public area of

13   the pharmacy was?

14   A.   It was a very small pharmacy, what we call in the t rade a

15   mom-and-pop , compared to t h e larger pharmacies such as CVS and

16   Wa lgreens .

17   Q.   Did the pharmacy also contai n back rooms , that is ,

18   nonpublic rooms?

19   A.   Yes .

20   Q.   Di d you inspect those rooms?

21   A.   Yes, th at was part of the inspection .

22   Q.   Were photographs taken of cer tai n areas of the pharmacy?

23   A.   Yes .

24   Q.   Were you present when t hey were take n?

25   A.   Yes , and some I directed to be taken .


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 1   Q.   If you co u ld look at what is marked for i dentification --

 2   I ' ll wa l k up to you Gove rnment Exhibits 301 t h rough 3 1 3 .         Take

 3   a moment and leaf t hro u gh those .         Le t me know if you recogn i ze

 4   them .

 5   A.   Yes ,    I do recognize them .

 6   Q.   Wh at are t h ose , Mr . Bat , wit h out descri bing them?      One by

 7   one , wha t' s t h e set?

 8   A.   Excuse me , what?

 9   Q.   Wit h out describing the m one by one , wha t        is the se t of

10   th ings jus t handed you?          Wh at are those?

11   A.   Photographs .

12   Q.   Ph otograph s of wha t?

13   A.   Of t he pharmacy , different parts of this pharmacy that we

14   were tak i ng .

15   Q.   Taken during the i nspection?

16   A.   Correct .

17                 MR . RICHENTHA L:     Government offers 301 th ro u g h 313 .

18                 MR . FREEMAN :     No objection.

19                 THE COURT:       Received .

20                 (Government ' s Exhibits 301 throug h 313 received in

21   evide n ce)

22                 MR. RICHENTHAL :      Ms . Chen , can you put 304 on the

23   scree n.

24   BY MR . RICHENTHAL :

25   Q.   Mr . Bat , turn to 304 ,       or as your screen warms up , you


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 1   should see it in a mome nt .

 2   A.   304?

 3   Q.   304 .     It should a l s o now be on the screen to your r ight .

 4   A.   Yes .

 5   Q.   Do you recognize these?

 6   A.   Yes .     These are bins tha t we found in the back room .

 7   Q.   Do you recall wh at was in these bins?

 8   A.   Ye s .    Each o n e contained bo tt l es of medi cation .

 9   Q.   Were t he bottles i ndivid ually labeled?

10   A.   No.

11                 MR . RICHENTHAL :    Ms . Che n , can yo u now put up 310 .

12   Q.   I s that an example of the inside of o ne of the bi n s?

13   A.   Yes .     Tha t's an i nterio r p hoto .

14                 MR . RI CHENTHAL:    Ms . Chen , can y o u p ut up 302 .

15   Q.   Mr . Bat , do you recogni ze th ese ?

16   A.   Yes .     The s e were v i als t ha t we f ound i n the dispensing area

17   of the pharmacy .

18   Q.   You say " the d ispensing area. "          What was ne ar these vials?

19   A.   The medication , the vials , via l s to b e fil l e d , t h e

20   prescrip t i ons , the drugs wo ul d be take n to be counted and

21   measured .

22                 MR . RICHENTHAL :    May I have a mo ment , your Honor?

23                 THE COURT:    Yes.

24   BY MR . RI CHENTHAL :

25   Q.   Mr. Bat , I ' m go ing to bring to you Government Exhibit 1001


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 1   in evidence .      Do those appear simi lar?

 2   A.   Yes , th ey are .

 3   Q.   To the bottles that you saw?

 4   A.   That is correct .

 5               MR . RICHENTHAL :    Now , could we go back , Ms . Chen , to

 6   Governmen t Exhibit 304 .

 7   Q.   Mr . Bat , do you recall approximately how ma ny b i ns like

 8   this were in Hell ertown Pharmacy?

 9   A.   Over 100 , I think 1 17 to be exact .

10   Q.   At the end of the inspection, did Hellertown Pharmacy pass

11   or fail t he i nspect ion?

12   A.   It failed .

13   Q.   Was t hat conveyed to anyone?

14   A.   Oh , yes .    The supervising pharmacist that day .

15   Q.   Was the failure also thereafter transmitted to anyone

16   electronically , for example , by e-mail?

17   A.   Yes.    The pharmacy inspe cto rs , Mike would h ave sent it by

18   e - mail.

19   Q.   To whom?

20   A.   To the supervising pharmac ist .

21   Q.   In that case , in t his case , in this pharmacy who was that,

22   do you recall?

23   A.   Stephen Goloff .

24   Q.   Would it also have been provided to the pharmacist in

25   charge , that is the official licensee?


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 1   A.   Not necessarily .     It would be up to Mike if he wants t o

 2   send to both .    Normally , t h e procedure is to give it to the

 3   supervising pharmacist.

 4   Q.   Wh en you say " give ," you mean physical l y?

 5   A.   No , sent electronically .

 6   Q.   I ' m going to show you what has been mar ked for

 7   identification as Government Exhibit 4004 .         First , do you

 8   recognize the sender?

 9        Let me bac k u p .   Is t his an e - mail?

10   A.   Yes.

11   Q.   Do you recognize the sender?

12   A.   Yes .

13   Q.   Who is the sender?

14   A.   Michael Fi tzpatrick .

15   Q.   Is that t h e individu a l   that accompanied you?

16   A.   Yes .   This is the pharmacy inspector.

17   Q.   Do you recognize the recipient?

18   A.   Yes .   It ' s to Lena Lasher .

19   Q.   At a particu l ar

20   A.   Yes, I ' m sorry , at yahoo . com .

21   Q.   Now , can you turn to the second page .       Withou t reading what

22   is on there , is that the indication that the pharmacy had

23   failed?

24   A.   Yes .

25   Q.   What ' s the date of that e-mail?


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 1   A.   9/18/2012.

 2   Q.   Is that t he same day as the inspec tion?

 3   A.   That is correct .

 4   Q.   After you inspec ted Heller tow n Pharmacy , where did you go?

 5   A.   We went to the Palmer Pharmacy.

 6   Q.   That ' s t he other pharmacy t hat was t he subject of the

 7   complaint?

 8   A.   That is correct.

 9   Q.   Did you perform an inspection the re as well?

10   A.   Yes , we did .

11   Q.   Who , if anyone , accompanied you?

12   A.   Michael Fitzpatrick .

13   Q.   The same individual as t he first pharmacy?

14   A.   That ' s correct .

15   Q.   Approximately what time of day did you arrive to the second

16   pharmacy?

17   A.   Early afternoon.

18   Q.   Now , that second pharmac y , how did its publ ic area , front

19   area , compare to the first pharmacy?

20   A.   It was a la rger pharmac y .

21   Q.   Did it also have back areas , that is , nonpu blic areas?

22   A.   That is correct .

23   Q.   Did yo ur inspec tio n incl u d e those areas?

24   A.   Yes .

25   Q.   Were photographs ta ken of at l east some of those areas?


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 1   A.   Yes.

 2   Q.   I 'm go ing to walk up to you what ' s been mar ked in

 3   identification as Government Exhibits 401 through 407 .           Just

 4   take a moment and leaf t hrough those , and let me know if you

 5   recognize them .

 6   A.   Yes , I recognize the m.

 7   Q.   What are th ose , Mr . Bat?

 8   A.   These were photos that were taken at that time of the

 9   inspection .

10                MR . RICHENTHAL:      Government offers 401 t hrough 407.

11                MR . FREEMAN :     No objection.

12                THE COURT:       Received.

13                (Government ' s Exhibits 401 through 407 received in

14   evidence )

15                MR . RICHENTHAL:      Ms. Chen , can you put 402 and 403 on

16   the screen .

17   BY MR . RICHENTHAL:

18   Q.   Do you recognize these , Mr . Bat?

19   A.   Yes .

20   Q.   Do you recall what was in these , if you knew?

21   A.   Yes.     They were very similar to the one we found at

22   Hellertown .      They were bottles of medication.

23   Q.   Were the bottles or vials individually labeled?

24   A.   No .

25   Q.   Approximately how many bins like this were in Palmer


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 1   Ph armacy?

 2   A.     I b e l ieve t h e number was 28 .

 3   Q.     The other one was more t h a n 1 00?

 4   A.     11 7 .

 5                   MR . RIC HENTHAL :    Ca n yo u n ow turn t o 4 01 , Ms . Ch en .

 6   Q.    Do you reca ll findi ng this , Mr. Bat?

 7   A.    Yes .      Tha t was in t h e Pa l mer Ph armacy , in t he dis p e n s i ng

 8   a r ea .    I n fact , t h e p hoto ac tu a ll y shows it in the dispensing

 9   are a .

10   Q.    When you s a y the photo shows i t , are yo u refer r i n g to t h e

11   amber via l s behi nd th a t is fo r meas u r ing?

12   A.    That is co r rect .

13   Q.    Th e ones o n th e l eft are f il led?

14   A.    Yes .

15   Q.    The ones o n t h e r igh t      i n t he b ack a r e e mpty?

16   A.    Tha t is correc t .

17   Q.    At the end of the i n spec t ion , di d Pal me r Ph armac y pass o r

18   fail t he inspection?

19   A.     It   failed.

20   Q.    Was t hat conve yed to a n yone?

21   A.    Yes .

22   Q.    How?

23   A.     I t would ha ve been se n t by Mi ke .        He , f i rst of all , h a d t h e

24   p harmacist sign the ins p ec t ion for m and the n s e nt as an e - ma il .

25   Q.    Wh en you s a y the pharmacis t sign ed , yo u mean t he person o n


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 1   duty?

 2   A.   That ' s correct .

 3   Q.   This was a different pharmacist from t he pharmacist at

 4   Hellertown?

 5   A.   Yes .

 6                MR . RI CHENTHAL :    Yo ur Ho n or , I th i n k it ' s 2 :1 5 .      I

 7   don ' t have a lot of time lef t wit h Mr . Bat , but it is Friday

 8   afternoon .     I want to let the court know it ' s 2 : 15 .

 9                THE COURT :   All right .      Have a grea t weekend .             It ' s

10   supposed to be ni ce .      Just remember the rul es , don ' t talk about

11   the case , keep an open mind .          Thank you very muc h for your

12   atte ntion and e njoy the weekend .           See you bright and ear l y and

13   fresh on Monda y morning .

14                (Jury excused)

15                (Continued on next page)

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     FSbe la s l


 1                  ( In open court ; jury present)

 2                 THE COURT :      Good morning , everyone .     Sorry to keep

 3   you .     The l awyers and I had some matters to discuss .

 4                 I hope you all had a nice weekend .

 5    THOMAS BAT ,

 6            ca l l ed as a witness by the Government ,

 7            having been du l y sworn , testified as follows:

 8   DIRECT EXAMINATI ON

 9   BY MR . RICHENT HAL :

10   Q.      Good mo rning , Mr. Bat?

11   A.      Good morning counselor .

12   Q.      Welcome back .

13                 When we ended on Fr i day afternoon , you just t estified

14   that Hellertown Pharmacy and Palmer pharmacy had failed the

15   inspections of September 18 , 2012 .             Do you rec a l l   test if ying

16   abo ut that?

17   A.      That is correct .

18   Q.      And then you testified t hat an e - mai l containing a copy of

19   the i n spection report with respect to Hellertown was se n t                t o an

20   e - mail address at the address Lena Lasher at Yahoo?

21   A.      That is correct .

22   Q.      Let me pick up the story of t h at momen t .         Did there come a

23   time soon after that when you spoke wi t h Le na Lasher , also

24   known as Lena Contang?

25   A.      Yes , I did .


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 1   Q.   How did that come about ?

 2   A.   It was a telephone call t o set up an appointment to meet

 3   and discuss what happened at the pha rmacy .

 4   Q.   Just to be clear , Mr . Ba t , who wished to set u p the

 5   appointment , you or Ms . Lasher?

 6   A.   I ' m not sure , b ut it wo ul d be more likely the responden t

 7   wou ld call me.

 8   Q.   And the call itself , in other words , who wished to set up

 9   the meeting , you or her?

10   A.   It would probably be her .

11   Q.   Di d you , in fact , meet with her?

12   A.   Yes , I did .

13   Q.   Approximately wh en?

14   A.   It was two days l ater , September 20th.

15   Q.   Where did you meet with her?

16   A.   At a rest au ran t that ' s only a f e w storefronts away f rom the

17   p h armac y at Hellertown .

18   Q.   Di d anyo ne accompany he r to the meet i ng?

19   A.   Yes .   The r e were t wo other pe opl e .

20   Q.   Who were t hose people?

21   A.   Peter Riccio , Carl Riccio , and a one of the tec hs from the

22   p h armacy , p h armacy tech .

23   Q.   At the outset of t he meeting , how , if at all , did

24   Ms. Las he r describe he r roles at Helle rtown Pharmacy and Palmer

25   pharmacy?


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 1   A.     Sh e was a supervisi ng pharmac i st for both pharmac i es .

 2   Q.     That' s how s he described he r se lf ?

 3   A.     Yes.

 4   Q.     What types of subjects in general did you talk about with

 5   Ms . Lashe r?

 6   A.     I had a f ormat of iss u es I wanted to be -- or areas of

 7   concern I wanted t o be addressed.            And I ' d ask those particular

 8   questions .

 9   Q.     Did t hey cover more than one subject?

10   A.     Yes.

11   Q.     Now , be f ore get ting t o those subjects, did you tell

12   Ms . Lasher who the compla in ant was?

13   A.     No .

14   Q.     That is , who filed the compla int ?

15   A.     No ,   I did n ot .

16   Q.     Did you tell h er which emp l oyees you ' d previous l y

17   interviewed?

18   A.     No ,   I did not .

19   Q.     Did you te ll h er wh at certain p revious e mp l oyees had told

20   you?

21   A.     No .

22   Q.     Le t's talk about a few of the subjects o n e at a time.

23                  So , first , did you ask Ms . Lasher a bout the pharmacy ' s

24   sick employee policy?

25   A.     Yes , I did .


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 1   Q.   What did she say?

 2   A.   She said that the policy is t h at if someone is sick ,

 3   they ' re t o take the day off and not to be see n by the

 4   p har ma cis t   t hemself .

 5   Q.   Did you ask Ms. Las he r about the bins or t o te s that you'd

 6   seen?

 7   A.   Yes , I did .

 8   Q.   Did Mr . Peter Riccio say something a t         that point?

 9   A.   Not at that point , but he did comment later on abo u t

10                MR . FREEMAN:     Objec t ion .

11   Q.   Did Mr. Pe te r Ri cc i o comment a t     some point dur i ng the

12   interview?

13   A.   Yes , he did .

14   Q.   Was i t     in response t o the phrase " mail order " ?

15   A.   Yes , he did .

16   Q.   What d i d Mr. Peter Riccio say?

17   A.   He didn' t believe he did t hat much ; t he two pharmacies t hat

18   his company owned d i d not do that much mai l order .

19   Q.   He sai d t h ey did not do t ha t mu c h mail order?

20   A.   That is c orrect.

21   Q.   Now , at t ha t momen t d id Ms . La s h er say anything in response

22   to hi s s t atement ?

23   A.   No .

24   Q.   Did she cont r ad i ct his statement?

25   A.   No , she d i d n ot .


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 1   Q.     Did she seek to correct, revise or expand his statement?

 2   A.     No , she d id no t .

 3   Q.     Did t he i nterview con ti nue?

 4   A.     Oh , yes.

 5   Q.     Now , on Friday you testified about meas u ring vials you'd

 6   seen .     I showed you p hotographs of measuring v i als with a line

 7   around them?

 8   A.     Correct .

 9   Q.     Do you recall that?

10   A.     Correct .

11   Q.     Did you ask Ms . Lasher about what those vials were used

12   for?

13   A.     Yes , I did .

14   Q.     What did she say in respons e?

15   A.     Sh e explained a p harma cist or tech wou ld take -- wou ld

16   count the p ills ou t, say 100 p ills , and then put them into that

17   master vial , and after that would eyeball it and th en put it

18   into a new v i al that now had the address and informa t ion from

19   the patient .

20   Q.     Le t me pause for a second .      When you say count out 100

21   pills , did she tell you t h is was pill by pill?

22   A.     Yes .

23   Q.     So wha t was the process she -- you unde rstood her to be

24   telling you occurred with r espect to these me asuring vials?

25   Step o ne , pills are co unted by ha nd , pill by p il l?


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 1   A.   Correct .

 2   Q.   An d then step two is what?

 3   A.   Put it in to the marked bottle -- we were cal ling it the

 4   master vial.

 5   Q.   And then step three?

 6   A.   After you eyeballed it -- that was her words , not mine

 7   after she eyeballed i t , she wou ld put it -- or the pharmacy

 8   te ch or pharmacist would now p ut it into t h e correct vial , the

 9   one tha t wou ld be going o u t .

10   Q.   Now , after Ms. Lasher told you that was the process , did

11   you ask her a follow-up question?

12   A.   Yes , I did , because i t didn ' t make any se n se to me .    So I

13   asked he r to expla in it a second time .

14   Q.   Did she explain it a second time ?

15   A.   Yes , she did .

16   Q.    Did she once again explain i t involved cou nt ing by ha n d ,

17   pill by pill?

18   A.   That is cor r ect .

19   Q.   Now , did you a l so ask Ms . Las her a different sub ject ,

20   whethe r pills whic h h ad been returned to the pharmacy we re then

21   r edispensed t o other customers?

22   A.   Tha t was one of t h e topics .

23   Q.   What , i f anything , did she say in re spo n se to t hat?

24   A.   She sa id they do no t recycle thei r p il ls .   They get

25   destroyed .


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 1   Q.   She said they were destroyed?

 2   A.   Correct .

 3   Q.   Did she say who destroyed them?

 4   A.   She was t he only one authorized to destroy them.

 5   Q.   Did you ask Ms . Lasher about prescriptions for control l ed

 6   substances , and specificall y suspiciou s prescriptions?

 7   A.   Yes , I did .

 8   Q.   Did she say anything with respect to whether the pharmacies

 9   had out - of - state doctors ' customers?

10   A.   She said that she had checked , and t hat everyt hing was

11   above board and everything was correct.

12   Q.   Did she say wh ether t h ey had a fa i r number , or lac k

13   thereof , of out-of-state customers fo r controlled substance

14   prescriptions?

15   A.   She said she had very little out-of-state prescriptions.

16   Q.   Now , that was a question about contro l led substances

17   generally .      Let me ask a par t icular one .

18                Did you ask Ms . Lasher about a prescript i on or

19   prescriptions for opium t in c t ure?

20   A.   Yes , I did .

21   Q.   What did she say about a prescription or prescriptions for

22   opium tincture?

23   A.   She informed me t hat a pa t ient had a diarrhea problem , and

24   that his doctor had prescribed that for him .

25   Q.   Let me pause .      You said a patient and h is doc t or .


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 1   A.   That ' s correct.

 2   Q.   Did you understand her to be referring to two different

 3   people?

 4   A.   That is correct .

 5   Q.   Did you also ask Ms . Lash er whether the pharmacis t, as

 6   opposed to a technician , was the last person to review

 7   prescript ions before they left the pharmacists?

 8   A.   Yes.    We did discuss that topic.

 9   Q.   What did she say , Mr . Bat?

10   A.   She said the las t person to look at the prescription before

11   it went out would have been the pha r macist.

12   Q.   Did she say that was true for every prescrip tio n?

13   A.   That is correct .

14   Q.   At the close of the interview did you offer Ms. Lasher the

15   opportunity t o do anything?

16   A.   Yes .   It ' s our protocol to have any lice nsee respond

17   directly to t he board in their own words.          It ' s not going to be

18   filtered .    I t ' s not going to be loo ked at by anyone else ,

19   except the board itself .      So they ' re given the choice to do a

20   written response , an option.

21   Q.   I ' m sorry?

22   A.   It ' s an option.

23   Q.   When you say " the board ,   II
                                            to what are you referring?

24   A.   The pharmacy board .

25   Q.   And you said "it ' s an option . "      What do you mean by that?


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 1   A.   They don ' t have to do it .         There ' s -- nothing is held

 2   agai n st them if they don ' t comply with it .

 3   Q.   How did Ms . Lasher react to that opportunity?

 4   A.   She said she would like to reply , send a written letter in.

 5   Q.   Now , before I talk about something e l se , you ' ve listed a

 6   few different subjects you wen t over with Ms. Lasher .             Were

 7   some of t h ese more central to the miss ion of the board or of

 8   the inspectio n ?

 9   A.   Yes .

10   Q.   Which ones?

11   A.   The ones - - the things such as returning medications once

12   they leave the p h armacy a n d coming back and being r ecycled ;

13   having -- it ' s hard to disti ngu is h between what was major , what

14   was minor at this point .

15   Q.   Wel l , what was more central to the regu l atory mission of

16   the board?       For example , things li ke a sick policy or things

17   like labeling , storage of pills?

18                 MR . FREEMAN :     Object to the form of the question .

19   Q.    I n your own words , Mr . Bat , wh at was more cent r al to the

20   mission of the board?

21                 MR . FREEMAN :     Object to the form of the question .

22                 THE COURT :      That ' s not a question .

23   Q.   Mr . Ba t , among the subjects you talk about with Ms . Lasher ,

24   wha t did you view as more mean ing ful?

25   A.   Well , as I explained , the drugs going out of the pharmacy


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 1   and coming back and being recyclable , that ' s a really -- would

 2   be a rea l ly big issue .

 3   Q.   How about how d rugs were labeled and stored?

 4   A.   Up until that point I ' ve never saw that before in any

 5   p h armacy .

 6   Q.   When you say that you ' d never seen that before , Mr . Bat ,

 7   are you referring to the storage of totes in this pharmacy?

 8   A.   That is correct .

 9   Q.   You ' d n ever seen p il ls stored that way before?

10   A.   Never.

11   Q.   How many pharmacies have you been in at your time as an

12   inspector?

13   A.   After 2 7 yea rs , it ' s ha r d to give a cou nt , but at one time

14   in 2010 we were tasked to do pharmacy inspections two or t h ree

15   a week .       So I got very familiar with doing the mom- and-pop

16   p harmacies and the la rger pharmacies and so forth .       So quite a

17   lot of experience .       Bu t to give a number , I would have no idea

18   ho w many that would have been .

19   Q.   We ll, in a ll of that experie n ce , did you ever see pills

20   stored in totes th is way?

21   A.   Never .

22   Q.   Di d you ever see individual vials not labeled this way?

23   A.   Never .

24   Q.   Did you eve r see paper pieces on t he outside of a t o te

25   labeled the way you ' d seen them?


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 1   A.   Never .

 2   Q.   Did you ever see co unting via l s or meas u r ing via l s the way

 3   you talked about?

 4   A.   Once again , n ever.

 5   Q.   Let me step back to -- let me pause.         You said you ' d seen

 6   bo t h mom- and-pop stores a nd l arger stores?

 7   A.   Yes.

 8   Q.   Your answers never -- were those the same for mom- and-pop

 9   and larger stores?

10   A.   The rules and regulations are the same for both.

11   Q.   Le t me step back to your conversation with Ms. Lasher.            Yo u

12   said you of f ered h er the oppo r tunity to write to the board?

13   A.   That is correct .

14   Q.   Did she take you up on the opportunity?

15   A.   Yes , she d id.

16   Q.   Approx imately ho w long after your inte rview?

17   A.   Several days .

18   Q.   I want to bring to you what ' s been mar ked for

19   identifica tio n as Gover nment Exhibit 3014 and 3015 .       Take as

20   muc h time as you need , Mr . Bat .   Le t me know if you recog nize

21   those .

22   A.   Yes , I re cogn ize the m.

23   Q.   What a r e those , Mr . Bat?

24   A.   These are lette rs tha t were sent to my office .

25   Q.   How many letters?


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 1   A.    The Scranton regional office.

 2   Q.    How many l etters?

 3   A.    There were four a ll together.

 4   Q.    Who were these letters signed by?

 5   A.    They were signed by Lena .

 6   Q.    Wh en you say " Lena ," are you referring to - -

 7   A.    I ' m sorry.     Lena Contang .

 8   Q.    Le n a Contan g was t hat the name on Ms . Lasher ' s pharmacy

 9   license in the Commonweal th of Pennsylvania?

10   A.    That is correct .

11                  MR . RICHENTHAL :     The government offers 3014 and 3015 .

12                  MR. FREEMAN:     No objection.

13                  THE COURT :    Received .

14                  (Government ' s Exhibits 3014 and 3015 received i n

15   evide nce)

16                  MR . RIC HENTHAL :    Ms . Chen , can yo u p u t 3014 on the

17   screen .

18   BY MR . RICHENTHAL :

19   Q.    Now , fi r st , Mr. Bat , you said four le t ters .       Ar e t h ey

20   substantively identica l?

21   A.    They ' re almost ident i cal , except for t h e let te rheads .

22   Q.    Can you exp l ain what you mean by t hat .         What was the

23   difference in l etterhead?

24   A.    Two of them had the Hellertown address and two of them h ad

25   the Pa lmer pha rmacy letterhead.


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 1   Q.   Otherwise was the content the same?

 2   A.   That is correct.

 3   Q.   Were all fou r signed by Ms . Contang or Ms . Lasher?

 4   A.   That is correct .

 5   Q.   Were they signed by anyone else?

 6   A.   No .

 7                MR . RICHENTHAL :    Ms . Chen , can you expand the first

 8   paragraph of this le tte r .

 9   Q.   First , Mr . Bat , do you see the date on the right , 9/24/12?

10   A.   That is correct .

11   Q.   Does that accord with your memory of approximately when you

12   r eceived this letter?

13   A.   That wou ld be correct .

14   Q.   That ' s less than a week after the inspection?

15   A.   Yes .

16   Q.   Now , do you see on the left, where it says , dear PA BOP?

17   A.   Yes .

18   Q.   What was PA BOP?

19   A.   The Bureau of Occupational and Profession a l Affairs .

20   Th ere ' s one le tte r missi ng , should be another A on it .

21   Q.   Does that incl ude t he Board of Pharmacy?

22   A.   Yes , it does .

23   Q.   Now , could you read the first paragraph , please .

24   A.   The entire paragraph?

25   Q.   Yes , sir .


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 1   A.    I would address each of the inspector ' s concerns later in

 2   this letter .       First , I mu st express the comp l ete disappointment

 3   I have been          that I have deve l oped for many emp l oyees that I

 4   have hired.        I have no doubt t ha t   the reason tha t I was put

 5   through this embarrassmen t and humiliation is because of a

 6   p harmacist that I had to l et go for incompete n cy .          I can say so

 7   much more , but I would just leave it at that .             Many employees

 8   come and go .       Most do not have t he same work ethic t h at I need

 9   and por t ray .     When we find a good employee , t h ey love to work

10   for me .       They want to get paid and do no t hing , they have a

11   problem with me .       To write or ca l l you complaining about me or

12   the stor i es -- I ' m so rry , strike t h at .     To write o r ca ll you

13   comp laining about me or the stores I supervise is something

14   that breaks my heart and makes me question whether or not it is

15   all worth it .

16   Q.    Now , Mr . Bat , cou l d you go down a l ittle farther on the

17   letter , please .      Do you see a series of numbered sentences or

18   paragraphs?

19   A.    Correc t .

20   Q.    Could you read the first one , please .

21   A.    Number one , Lena Contang is the pharmacist in charge of

22   Hellert own Pharmacy .       St even Goloff is the pharmacis t      in charge

23   of the Palmer Ph armacy       &   Much More .    Lena Co n tang is the

24   managing partner of both pharmacies .

25   Q.    Now , could you go down to number eight , which I be l ieve


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 1   goes on to the next page .

 2                  MR . RIC HENTHAL :   Ms . Che n,   if yo u cou ld highli g h t

 3   number eight , please.

 4   A.    Number eight .       Both Hellerto wn Pharmacy and Palmer

 5   Pharmacy & Mu ch More have a sick policy in which a sick note

 6   must i ndi cate wh en an e mpl oyee ca n return to work so t h at

 7   h e / she does not contaminate the other e mp loyees.              A pha r mac ist

 8   never diagnoses anyone , incl u ding an employee .               Pare n theses ,

 9   t h e sick policy was previous l y incorrectly t old to t h e

10   investiga to r by the pharmacis t on duty , parentheses.

11   Q.    Let me pause for a second.           Do you see where i t       says , the

12   sick po li cy was previou s l y incorrect l y told to the i nvestigato r

13   by the pharmacist on duty?

14   A.    Corre ct.

15   Q.    Did yo u t el l Ms. Lasher wha t       certain employees had told you

16   or not to l d you?

17   A.    No .

18   Q.    Wo u ld yo u go to number 14 , p le a se .

19   A.    Fourteen , a ll prescr i ptions ar e verified by pharmaci s t .

20   The pharmac is t      is the l ast check o f all presc rip tions .

21   Q.    Did that acco r d with what she told you when you met h e r?

22   A.    Yes .

23   Q.    I should have asked t h is e arlier :          Does the sentence you

24   read ea r l ier about the sick po lic y also acco r d wi t h what you

25   we r e to l d when you met her?


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1    A.       Yes.

 2   Q.       And when I say " her ," I ' m referring to Ms . Lasher .

 3   A.       That is correct .

 4   Q.       Do you see number 13?

 5   A.       Yes .

 6   Q.       Cou ld you read that .

 7   A.       Number 13 , Lena speaks for all doctors that we directly do

 8   business with every month regarding patients ' presc ripti ons .

 9   Q.       You understoo d Lena to be referring to Ms . Lasher he rsel f?

10   A.       That is co rrect .

11   Q.       Go t o number 16 , please .

12   A.       Number 16 , all return prescriptions , pare ntheses , any

13   prescrip t ions that have left the pharmacy , p arenth eses , are

14   destroyed by Lena .           Steven Goloff in correct l y told yo u that we

15   re tu rn to stock .        We nev er return any prescriptions that had

16   been left in th e pharmacy to stock .             This is my , parentheses ,

17   Len a , parentheses , departmen t .

18   Q.       Does that accord with what Ms . Lasher t old you when you me t

19   he r ?

20   A.       Yes .

21   Q.       Let me paus e a second again.       The midd l e sen t ence says ,

22   Steven Go lo ff incorrectly to l d you re t urned to stock , had you

23   told Ms. Lasher what Mr. Go l off told you?

24   A.       No , I did not.

25   Q.       Finally , cou ld you go to number 1 7 , please .


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 1   A.   Number 17 .

 2   Q.   Do you see t h e last sentence t h ere , we do h ave?   Do you s ee

 3   where it says , we do have a marked vial?

 4   A.   Yes .

 5   Q.   Could yo u read that sentence .

 6   A.   We d o have a marked via l as a gui d e becau se we h ave certai n

 7   pharmacists or techs who wanted to use a marked vial to

 8   doublecheck their count .

 9   Q.   Now , this reference t o count , based on yo u r conversation

10   with Ms . Lasher , did you understand that to refer to a

11   p ill-by-pill count?

12   A.   That is co r rect .

13   Q.   Do you see the sentence above , where it says , because all

14   are of our prescriptions are either hand counted or machine

15   coun te d ?   Do you see that , Mr . Bat?

16   A.   The complete sentence , it starts with if?

17   Q.   Do you see the high l ighted portion?

18   A.   I see the highlighted .

19   Q.   Cou l d you now read t h e entire sentence , please .

20   A.   If the same patient orders one quantity three times , we no

21   longer fill that for that patient , because all of our

22   prescriptions are either hand counted or machine counted .

23   Q.   Based on your conversation with Ms . Lasher , did you

24   understand this to be pill by pill , whether either by hand or

25   by machine?


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 1   A.   Yes , that ' s correct .

 2                MR . RICHENTHAL:       Could I have a moment , your Honor .

 3                THE COURT :   Yes .     (Pause).

 4   Q.   Could you go to number 12 , Mr . Bat .           Do you see where i t

 5   says , as for the opium RX in question?

 6   A.   Yes .

 7   Q.   Could you read the paragr aph beginn in g with that phrase .

 8   A.   As for the opium prescrip t ion in ques t ion , the doctors said

 9   the patient has severe diarrhea and nothing works except for

10   paregoric or opium.        Since paregoric was no longer made , the

11   patient had no choice except for taking the opium .                  Otherwi se ,

12   the pat i ent has to go for surgery .           It ' s in un c l ear i f t he

13   patient improved or went for surgery , becau se the last time the

14   patient filled an opium prescription was on 1/7/12 .

15   Q.   This paragraph refers to t he doctor and the patient .                     Do

16   you see that?

17   A.   Yes .

18   Q.   Did you u nderstand those to be two different people , based

19   on speaking with Ms . Las h er?

20   A.   That wou l d be correct .

21   Q.   At any point in your conversation wi t h her did she lead you

22   to believe they were the same person?

23   A.   No .    I t sounded like two different people , a doctor and a

24   patient.

25                MR . RICHENTHAL :      If you could now turn to the end of


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 1   the letter , please.      Go to the next page , Ms. Chen .

 2   Q.   Cou ld you read t he final sente n ces before ,     thank you f or

 3   your time .

 4   A.   Starts with " we are ," that one?

 5   Q.   Yes , sir .

 6   A.   We are always open to inspect ion.         I will love for you to

 7   come back , in spect us or to show that BOP the corrections we

 8   made , along with our new and improved policies .            Thank you for

 9   your time .

10   Q.   Now , the other th ree let te rs , they were iden tical?

11   A.   That is correct.

12   Q.   1 00 perce nt ?

13   A.   Yes .

14                MR . RICHENTHAL :    Ms . Chen , could you just turn to the

15   first letter wit h Palmer let t erhead .

16   Q.   Do you see this , Mr . Bat?

17   A.   With the letterhead?

18   Q.   Yes , sir .

19   A.   Yes .

20   Q.   Is that the letterhead on Palme r t hat you ' re referring to?

21   A.   Yes .

22   Q.   Again , is it addressed to PA BOP?

23   A.   Yes .

24   Q.   Same date?

25   A.   Yes .


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1                 MR . RICHENTHAL :    Ms . Chen , could you turn to the

 2   signature pa g e .

 3   Q.   Same s i gnatu r e?

 4   A.   Yes .

 5                MR . RICHENTHAL :    No further questions for Mr . Bat .

 6   CROSS EXAMINATI ON

 7   BY MR . FREEMAN :

 8   Q.   Good morn ing .

 9   A.   Good mo rning , si r.

10   Q.   Te ll us again wha t BOP s t ands for .      I know the r e ' s a le tt er

11   missing .

12   A.   Bu reau of Professiona l Occupat i o nal Affair s .

13   Q.   So your role is an investigator for BOP?

14   A.   No , sir .     I work for BEI , Bureau of Enforcement

15   Inve st igation .     We d o t he inves t igat i ons for t he Bu reau of

16   Professiona l and Occupa ti o n a l Affairs .

17   Q.   So on a flow chart , wou ld i t be underneath or side to side?

18   A.   Equal .

19   Q.   Equa l.      And you inspect no t o nl y pharma cies but oth er

20   businesses?

21   A.   Twenty-seve n l icensi ng boards .

22   Q.   But we ' re talk i ng i n th is case about pharmacy?

23   A.   That is co rrect .

24   Q.   And you ' ve done a number of those in spections over the

25   years , an d 2010 you were doing maybe two o r three a week?


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 1   A.   That ' s co rrec t.

 2   Q.   Had you ever i ns pe cte d an onl ine pharmacy?

 3   A.   No , sir .

 4   Q.   Thi s was the first o ne ?

 5   A.   Yes .

 6   Q.   And i n Pennsylvania , t h e regulation does n ot pro hib it an

 7   online pharmacy?

 8                 MR . RICHENTHAL :    Objectio n .

 9                 THE COURT :   Sustained.

10   Q.   I s it rar e for - - wit hdrawn .      Let me sta r t a different one .

11                 When you did the inspection , the pha r macy failed ?

12   A.   Correct .

13   Q.   That doesn ' t mean tha t      t he pha rmac y is closed , am I

14   correc t ?

15   A.   No .

16   Q.   And in this case the pharmacy wasn ' t closed?

17   A.   No , i t was n ot .

18   Q.   Kep t on i n its business?

19   A.   Correct .

20   Q.   What is the procedure after th e failure?              Does t h e p h armacy

21   have a certai n a mount of time to get up to code ,             so to speak ,

22   or

23   A.   In some c a ses , they do .      If i t ' s a minor s i tuatio n ,   such as

24   missin g a pharmacy sign , they ' re allowed 30 d ays to correct it .

25   Q.   And what if it ' s a major situation?


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     F5belasl                       Bat - cross


 1   A.   Then it goes to the board for further action.

 2   Q.   Wou l d this case have gone to the board?

 3   A.   Yes .

 4   Q.   Did it go to the board?

 5   A.   I have no idea .

 6   Q.   That ' s not part of your --

 7   A.   No .

 8   Q.           involvement?

 9   A.   No , sir .

10   Q.   When you sat down with Ms . Lasher at the restaurant near

11   t h e pharmacy

12   A.   Yes .

13   Q.   -- Peter Riccio was there?

14   A.   Correct.

15   Q.   And we ' ve been talking about what Lasher said to you and

16   what you said to her .

17   A.   Yes.

18   Q.   But Peter Riccio was talking?

19   A.   Not really , sir .     I wouldn ' t allow him to .     The point being

20   is when I talk to a licensee , I talk to the licensee and not to

21   the owner or partner or anyone else.          Bu t the thrust is going

22   to be towards the licensee .

23                Now , I will allow some comments by a person wh o has an

24   interest , such as an owner .       I would al l ow some interest , but I

25   won ' t let him dominate the conversation or ask any questions


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 1   toward him .      They would never be directed to him .             They ' d be

 2   d i re cted to the l icens e e .

 3   Q.   Would it be fair to say that he tried to insert himself in

 4   the conversation?

 5   A.   Every now and then.           It wouldn ' t be a p redominant .

 6   Q.   But this was you r ground rules , so to speak?

 7   A.   Correct .

 8   Q.   And the licensee mea n s the person who h as the license?

 9   A.   Yes .

10   Q.   And the license in Heller t own was granted to Lena Contang ,

11   am I right?

12   A.   Yes .     Hel l ertown was -- yes.

13   Q.   That was the --

14   A.   Goloff was Palmer.

15   Q.   That was the store that she h ad the license fo r ?

16   A.   That ' s correct .

17   Q.   So was Peter Riccio there as the owner?

18   A.   Yes .

19   Q.   An d d i d h e - -

20                 MR . RICHENTHAL :     Objection to speculation .

21   Q.   Was Peter Riccio there as the owner , if you know?

22                 MR . RIC HENTHAL :    Objection .   Spec u lation .

23                 MR . FREEMAN :   I withdraw the question .

24   Q.   Did Peter Riccio tell you he was the owner?

25   A.   Yes , he did .


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     F5belas l                       Bat - cross


 1   Q.     Is there any prohib iti on for owners to b e presen t at such

 2   an interv iew?

 3   A.     No , no prohibitions .    No .

 4   Q.     And I thi nk we ' re c lea r t hat Lena Lashe r to ld yo u that it

 5   was he r department to des t roy medication ?

 6   A.     Correct .

 7   Q.     And she did it herself?

 8   A.     Yes .

 9   Q.     And it was also her statement to you that pills we re

10   counted one by o n e o r wit h a counting machi ne?

11   A.     I didn ' t encounter any counting mach ine in t h e pha r macy .

12   Q.     I'm sorry .    Then it ' s my fault .     I tho ught I he ard you s ay

13   that .

14   A.     That was in the letter .         I never said that .     The lette r

15   s t ates it .

16   Q.     In t he interview she said that pil l s were counted o ne by

17   one?

18   A.     Yes .

19   Q.     Now , was s h e talki ng abo ut herse l f?

20   A.     She was talking abo ut anyone , herse lf and others .

21   Q.     At the pharmacy ?

22   A.     Cor r ect .

23   Q.     And she made it clear tha t        t hat was wh a t s h e b el i eved was

24   going on , correc t?       Sh e said that this i s what -- this is the

25   policy at the p h armacy?


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 1                MR. RICHENTHAL :     Objection.

 2                MR. FREEMAN :     I 'l l rephrase .    Bad question .

 3   Q.   She to ld you that pills , medication at Hellertown Pharmacy

 4   were counted?

 5   A.   Yes.

 6   Q.   She also talked about the sick po l icy , correct?

 7   A.   Yes.

 8   Q.   And indicated to you that , i n words and substance , the

 9   pharmacists weren ' t qualified to make diagnoses if people were

10   sick ; they didn ' t have to come i n be fore t hey came back ; they

11   would need a doctor ' s note?

12                MR . RI CHENTHAL :   Objection.       Misstates the testimony .

13                THE COURT :     Sustained.

14                MR. FREEMAN:      I didn ' t h ear you .

15                THE COURT :     Sustained .

16   BY MR . FREEMAN :

17   Q.   Did you ta lk to Ms. Lasher about the sick policy being

18   changed ; in other words , did you ask her i f it was always the

19   way she described it?

20   A.   No .    Just talked about sick policy.

21   Q.   And althoug h you didn ' t tell Lena Lasher tha t you had

22   received a complaint from someone , you were basing your

23   question about sick policy because of the complaint?

24   A.   Yes .

25   Q.   You indicated that you had never seen these kinds of totes


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 1   b e f ore?

 2   A.   Never i n a pharmacy .

 3   Q.    Did you see them somewhere else?

 4   A.    Yeah ; Wal-Mart , Kmart , stores of that nature .

 5   Q.   And is that one of the reasons you too k pic t ures?

 6   A.    Yes , definitely .

 7   Q.    Normally you take pictures , but in this case yo u t ook more

 8   pi ct u res?

 9   A.    Yes .

10   Q.    Would it be fair to say as an inspec to r with exp e rience

11   inspec ti ng pharmacies , having no t inspected an online pharmacy

12   b efore , you d i d n' t know what to make of th i s ; is th at fair?

13                  MR . RICHENTHAL :    Objection .

14                  MR . FREEMAN :   I ' ll withdraw t he q u est i on .

15   Q.    Is i t common for people t o t ake up your offer to l et them

16   submit a wr iting?

17   A.    I'd say about a good 85 percent .

18   Q.    And I t hi nk you tes tified t ha t      the response came in withi n

19   a b o ut t h ree o r four da ys?

20   A.    Tha t is correc t.

21   Q.    Did you -- wel l , obv i ous l y you met wit h Lena La s h er when

22   you sat d own with h er to interv i ew her at th e restaurant.

23   A.    Yes .

24   Q.    Had you met wi t h her any other time?

25   A.    No.


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 1   Q.   When you came in to testify , did you recognize her?

 2   A.   Yes , si r .

 3               MR . FREEMAN :     I have nothing furthe r .

 4               MR . RICHENTHAL :      Very briefly , your Honor .

 5   RED I RECT EXAMINATION

 6   BY MR . RICHENTHAL :

 7   Q.   Mr . Fr eeman asked you about a pill counting machine ,

 8   Mr. Bat?

 9   A.   Yes.

10   Q.   Did you see one a t Heller t own Pharmacy?

11   A.   No , I did not .

12   Q.   Di d you see one at Pa lmer pharmacy?

13   A.   No , I did not .

14               MR . RICHENTHAL :      No further questions.

15                THE COURT :     I ' m just cu r ious :   How l arge is a pill

16   counting machine?

17               THE WITNESS :      It wo u ld be qui t e large.     They could

18   actually be l ike wal l size.          I t comes h ow many you want to put

19   in it .     So if you wan t to buy one that has a l ot of pi ll

20   capacity , you can get really l arge ones .             Those are automatic .

21                Now , then I also refe rred to smaller ones that are

22   kind of quite old , and you don ' t see them too often because

23   it ' s now been automa t ed .      So t here are t wo kinds .

24               THE COURT :      But an automated one is fairly large?

25               THE WI TNESS :     Yes , very large.       It would definitely


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                                                                                    97 1
     F5bela s l                       Ba t   - re d i rec .:


 1   stick o ut whe n yo u wa lk in.

 2   RECROSS EXAMINATION

 3   BY MR. FREEMAN :

 4   Q.   Are you saying you d idn ' t        see o n e , o r are you saying that

 5   there wasn ' t one there?

 6   A.   I did not see one .

 7                MR . FREEMAN :    No thi ng further .

 8                MR . RICHENTHAL :    I have a couple questions , you r

 9   Honor .

10   REDIRECT EXAMINATI ON

11   BY MR . RICHENT HAL :

12   Q.   Did you walk around all of He ll ertown Pharmacy?

13   A.   Yes , we d i d .

14   Q.   Did you walk around all of Palmer pharma cy?

15   A.   Yes , we d i d .

16   Q.   Did you walk around the areas pills were stored?

17   A.   That is correct .

18   Q.   In both pharmacies?

19   A.   Yes .

20   Q.   Did you see a pill counter i n either pha r macy?

21   A.   No ,    I did not .

22                MR . RICRENTRAL:     No fur th er q uestions .

23                 MR . FREEMAN :   On e question .

24   RECROSS EXAMI NATION

25   Q.   Did you see scales?


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 1   A.   Yes .

 2   Q.   We igh ing scales?

 3   A.   Yes .

 4   Q.   Do you re member how man y?

 5   A.   No .

 6                MR . FREEMAN :     Thank you.

 7                MR . RIC HENTHAL :    We have n o questions , fu rth er

 8   q uestions fo r Mr . Bat .

 9                THE COURT :      Thanks for coming back aga in .    I

10   appreciate it .

11                (Witness excused)

12                MS . GREENBERG:      Th e gove rnment ca lls Dr . Carme n

13   Catizone .

14    CARMEN CATIZONE,

15         c a l led as a witness by the Government ,

16         havi ng been du ly sworn , tes ti fied as follows:

17   DIRECT EXAMINATION

18   BY MS. GREENBERG:

19   Q.   How are you?

20   A.   Good morning .

21   Q.   Wha t is yo ur occupation?

22   A.   I ' m a p h armacist and exec utive di recto r of t h e Na ti onal

23   Ass oc ia t i on of Boards of Pharmacy .

24   Q.   Now , how long have you held th at position as the ex e cutive

25   director of t h e National Associatio n of Boards of Pharmacy?


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